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 Via ECF

 May 8, 2024

 Honorable Rukhsanah L. Singh, U.S. Magistrate Judge
 United States District Court- District of NJ
 Clarkson S. Fisher Building & U.S. Courthouse
 402 East State Street, Court Room 7W
 Trenton, NJ 08608
 Re:       In re: Johnson & Johnson Talcum Powder Products
           Marketing, Sales Practices and Products Liability Litigation -
           MDL 2738
 Dear Magistrate Judge Singh:
       I write on behalf of the Johnson & Johnson Defendants to provide a copy of
the transcript of the May 3, 2024, continued plenary hearing regarding
disqualification of Beasley Allen. This is the transcript produced by the court
reporter retained jointly by the parties. The official transcript prepared through the
audio recording in the court room is not yet available.

          Thank you for your consideration of these matters.


                                          Respectfully,

                                          /s/ Susan M. Sharko
                                          Susan M. Sharko
                                          FAEGRE DRINKER BIDDLE & REATH LLP

SMS/scg
Encl: (1)
Cc: All counsel of record (via ECF)
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 1                             SUPERIOR COURT OF NEW JERSEY
                               LAW DIVISION - ATLANTIC COUNTY
 2                             Docket No. ATL-L-2648-15
 3
           IN RE: TALC-BASED POWDER                     : CIVIL ACTION
 4         PRODUCTS LITIGATION                          : CASE NO. 300
 5
 6                               - - -
                      TRANSCRIPT OF PLENARY HEARING
 7                             (VOLUME III)
                                 - - -
 8
 9      PLACE:          ATLANTIC COUNTY CIVIL COURTHOUSE
                        1201 BACHARACH BOULEVARD
10                      ATLANTIC CITY, NEW JERSEY
11      DATE:           MAY 3, 2024
12      BEFORE:         THE HONORABLE JOHN C. PORTO, P.J.Cv.
                        THE HONORABLE RUKHSANAH L. SINGH
13                      U.S. DISTRICT COURT MAGISTRATE
14
15
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19
20                             - - -
21         Stenographically reported and transcribed by:
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12
13      ALSO PRESENT:
14      Erik Haas, Johnson & Johnson
        World Wide Vice President, Litigation
15
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19
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14       J&J 1B               Transcript Excerpt                  147
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 1                         (Hearing commenced at 9:38 a.m.)
 2                         THE COURT:       Thank you.     Good morning,
 3      everyone.      Please be seated.         Very nice to see
 4      everyone.
 5                         This is In Re: Talc, In Re: Johnson &
 6      Johnson Talc-Based Products Litigation, Docket No.
 7      ATL-L-2648-15, and MDL Case 2738, MCL Case 300.
 8                         May I have the appearance of counsel.
 9      We'll start with Mr. Pollock.
10                         MR. POLLOCK:        Good morning, Your
11      Honor.      How are you?
12                         THE COURT:       Fine, thank you.       Good to
13      see you.
14                         MR. POLLOCK:        I'm here on behalf of
15      Mr. Birchfield and the Beasley Allen law firm, and
16      I'm joined with my associate, Austin Hilton.
17                         MR. BRODY:       Thank you.     Good morning,
18      everyone.
19                         And Mr. Brody.
20                         MR. BRODY:       Good morning, Your Honor.
21      Steve Brody from O'Melveny & Myers for Johnson &
22      Johnson and LLT Management LLC.
23                         THE COURT:       Thank you.     Good morning
24      to you.
25                         Mr. Haas.

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 1                         MR. HAAS:      Good morning, Your Honors.
 2      Erik Haas on behalf of Johnson & Johnson.
 3                         THE COURT:       Thank you.       Good morning
 4      to you.
 5                         We've been together so many times.
 6      We have a continuation of your client's testimony,
 7      Mr. Pollock.     We've got the correspondence.               We've
 8      got the attorney's eyes only material.                And anything
 9      to address before we go forward with the testimony?
10                         MR. POLLOCK:        I think there's two
11      preliminary matters, and I -- you know, the Courts,
12      Courts -- the Courts can run this any way they want.
13      One is the admission of P-5.
14                         P-5 was the document that was the
15      response from Mr. Conlan.           The issue that -- we
16      tried to work it out as counsel.                We could not.
17      Opposing counsel is objecting to the statement by
18      Mr. Conlan, he did not recommend.                There was
19      testimony on this point.          I submitted the
20      correspondence.      At some point, we need to address
21      that issue.     It doesn't need to be addressed now.
22      If you want to, we can, but it's completely up to
23      you and to my opposing counsel.
24                         The second one is the belated
25      submission of timesheets in a redacted format.                   And

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 1      I have -- I don't know whether you want to hear oral
 2      argument on this now, or do you want formal
 3      submissions, but I object to it.                I object to it
 4      because I asked for it prior to these hearings.                  I
 5      objected to it because Yuna says that you can
 6      produce it in camera, but it didn't say you can
 7      produce it in camera after three witnesses, three
 8      key witnesses have taken the stand and left; and, in
 9      particular, Mr. Conlan, who they are attacking.
10                         If they had wanted -- they've had
11      these documents.       They prepared an Excel sheet.             So,
12      if you want me to, I can prepare a formal response,
13      but I understand the Court didn't invite submission
14      of these documents, and I read the transcript and
15      I'm sure you know what you said.
16                         But to me, this is completely
17      violative of due process as far as Mr. Conlan's
18      rights, and I don't represent him, but the fact is,
19      by the implication, if you will, they're saying the
20      two of us are hooked together.
21                         So I would like to know, does the
22      Court want oral argument right now?                Does it want to
23      have briefing later on?          How would Your Honors like
24      to proceed, because I do object to their admission.
25                         THE COURT:       Let's hear from Mr. Brody

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 1      first.      And then what we can do is -- I'm not so
 2      sure about oral arguments now.              Maybe let's start
 3      with the testimony.        Judge Singh and I will confer,
 4      after we hear from counsel, and then we will render
 5      our thoughts and decision on that issue.               Okay?
 6                         Mr. Brody.
 7                         MR. BRODY:       Certainly, Your Honor.
 8      And as Your Honors are aware, after the lunch break
 9      on April 10th, the Court indicated that Johnson &
10      Johnson would be entitled to make an in camera
11      attorneys' eyes only submission with redactions
12      where we felt redactions needed to be made in order
13      to maintain privilege, really as impeachment of
14      instances where Mr. Conlan testified to things that
15      are flatly contradicted by the record of what he did
16      as J&J's counsel, J&J's outside counsel on the talc
17      litigation on these very matters over the course of
18      20 months where he represented the company.                And so
19      that's what we did.
20                         I think that -- I don't think there's
21      an objection to the submission of impeachment
22      evidence that would be proper.              I do think that if
23      Mr. Pollock wants to, in the briefing that Your
24      Honors have indicated that you wish to receive from
25      the parties after the conclusion of this hearing, if

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 1      he wants to argue as to how that should or should
 2      not be considered by the Court, and the weight that
 3      it should be given as impeachment, he is certainly
 4      entitled to do that, and the briefing will give him
 5      the opportunity to do that, and the Court then will
 6      have an opportunity to decide how, based on
 7      briefing, it wants to consider those materials and
 8      the extent to which it believes those materials are
 9      material to its evaluation of Mr. Conlan's
10      credibility and his testimony overall.
11                         THE COURT:       Well, our record is not
12      closed, and there's not been any decision on closing
13      the record.     So, you know, keeping in mind we also
14      have a confrontation issue, right, with regard to
15      certain material, and it's -- I'm going to suggest
16      to you that Judge Singh and I, perhaps, anticipated
17      this argument, that maybe there's another way to
18      address this, Mr. Brody and Mr. Pollock.
19                         So let's start with the testimony.
20      Judge Singh and I will confer, and we'll address
21      counsel.    All right?
22                         MR. POLLOCK:        Thank you.
23                         MR. BRODY:       Understood.
24                         THE COURT:       With the testimony today
25      of Mr. Birchfield, can you give us at least an

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  1      understanding or a heads-up with regard to time
  2      frame?      This is a continuation, candidly, of
  3      Mr. Birchfield's testimony.           Are we going to be all
  4      day?
  5                         MR. BRODY:      No, I don't think we're
  6      going to be all day.        And I was looking back at the
  7      transcript from April 10th and I saw that I told the
  8      Court at 4:30 p.m. that day that I thought I had 30
  9      minutes left.      It might be 40.         But I'm going to try
 10      to hold close to what I said on the 10th.
 11                         THE COURT:      It just gives us an idea
 12      of about where our day is.           Okay.
 13                         MR. BRODY:      Obviously, how long we're
 14      here then will depend on what Mr. Pollock raises
 15      with Mr. Birchfield and any redirect that I may
 16      have.
 17                         THE COURT:      Thank you, Mr. Brody.
 18                         Mr. Pollock, any thoughts?          We don't
 19      have a time -- you know, we don't have a stop watch
 20      on everybody.      Just to give us an idea.
 21                         MR. POLLOCK:       I acknowledge the fact
 22      that I respect both judges have been patient and
 23      you've committed the time to this hearing.               I do
 24      thank you for that.       I understand we also want to
 25      get this job done, and I respect that, too.

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  1                         It did not miss me that yesterday
  2      Mr. Haas went out on national press on the news and
  3      attacked Mr. Birchfield and his firm on the same
  4      vein he's attacking him here today; that this is
  5      self-interest, that this is just a big pay day for
  6      Beasley Allen, et cetera.
  7                         I'm also very mindful that with
  8      regard to the -- one of the things they are directly
  9      attacking is whether Beasley Allen should maintain
 10      its position on the talc claimants committee and
 11      should it be involved in the future.
 12                         I have to take this job seriously,
 13      because I respect and I know the Beasley Allen firm
 14      is committed to what it is doing.              I have to allay
 15      any concerns you have that that firm is not out
 16      there for a pay day.        They are out there to protect
 17      their clients.      Mr. Birchfield will explain that on
 18      the stand.      And, respectfully, it takes whatever
 19      time it takes.      I will do it as quickly as I can.
 20                         But, obviously, we were very patient
 21      with Mr. Haas, who talked ad nauseam in narrative.
 22      And I, therefore, I don't want to waste your time,
 23      but I also -- I can't commit to a specific time
 24      frame.      I will do it as quickly and efficiently as I
 25      can.     But as you both understand, this is a very

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  1      serious matter for a firm that is completely
  2      committed to its clients, and I have to protect
  3      them.
  4                        THE COURT:       This Court -- I didn't
  5      see any comments, and I will have Judge Singh
  6      address it, too.      This Court has no position with
  7      regard to Mr. Birchfield or J&J.               The decision here
  8      with regard to this decision is going to be based on
  9      the facts and the facts only.            Whatever is going on
 10      in the litigation and whatever the comments are, pro
 11      or against any of the firms have no bearing,
 12      Mr. Pollock, Mr. Brody, on this Court's decision on
 13      this particular issue, or even going forward, should
 14      we have any substantive issues.
 15                        We have a trial coming up in
 16      September, although it's not with Beasley Allen.
 17      But under no circumstances have I heard or thought
 18      anything that would cause this Court to recuse
 19      itself or to issue an adverse decision related to
 20      either J&J or Beasley Allen.
 21                        MR. POLLOCK:        Right.      So, Judge, just
 22      to -- and look, you have both dealt with me for a
 23      long time now.      I am pretty straight to the point.
 24      The real question is 1.6.          You and I talked about
 25      that; was there a disclosure.            There's been zero

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  1      evidence of a disclosure.          None.       There's been not
  2      even one proffer that there's a disclosure.
  3                        So my firm belief is the real reason
  4      that J&J is pursuing this nonsense is that they
  5      believe that they can attack in the news, in the
  6      press, every place in the world, and especially
  7      before a federal court, and perhaps in state court,
  8      they can attack the Beasley Allen firm and say this
  9      firm has got to go, it's a problem child, it
 10      shouldn't be here.       And that is -- it is absolutely
 11      crystal clear to me that's what's going on.
 12                        So I do understand that's the
 13      decision you're making here today, Judge Porto.
 14      You're here to decide whether a motion to disqualify
 15      should be granted, but you're also both smart enough
 16      to know this case has a life.            And the fact is,
 17      Mr. Murdica is out there beating the band trying to
 18      collect plaintiffs' lawyers so that Mr. Haas can get
 19      to his 70 or 75 percent of the people, which he
 20      announced in the national press yesterday.               They are
 21      playing this whole process for time.
 22                        So I do agree that we are here on a
 23      very specific little matter and, frankly, shouldn't
 24      be here at all, in my humble view, but I also am
 25      quite aware that there's a broader spectrum.               And

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  1      that's why I have to go into some detail with regard
  2      to the commitment the Beasley Allen firm has, the
  3      fact that it did not need any information,
  4      whatsoever, from Jim Conlan, because they knew far
  5      more than Jim Conlan would ever have known regarding
  6      any of these matters.        I have to be able to develop
  7      that theme.
  8                        THE COURT:       Okay.       And Judge Singh?
  9                        JUDGE SINGH:        No, I would like to
 10      comment.    I do appreciate the concerns.             It is
 11      patently evident that there are things going on
 12      between the parties in the media.               That is not what
 13      is before the Court.        I echo Judge Porto's comments
 14      in that regard.
 15                        What is before the Court is, at least
 16      in the MDL motion, the order, the request for the
 17      entry of an order to show cause as to the
 18      disqualification.       We are here to hear the evidence.
 19      Although we are asking in terms of managing our
 20      expectations for today's time frame, I don't believe
 21      Judge Porto or I have any intent on limiting the
 22      testimony without actually hearing what will be
 23      presented on the front end as to what Mr. Birchfield
 24      intends to testify in response to your examination.
 25                        But I would like to take this

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  1      opportunity to again remind the parties that we are
  2      here to determine this particular issue, based off
  3      of the record presented, not only the declarations
  4      and certifications previously submitted, but also
  5      the hours of testimony that both Judge Porto and I
  6      have had the opportunity to hear.
  7                        So thank you, Judge Porto.
  8                        THE COURT:       You're welcome.
  9                        MR. POLLOCK:        Thank you.
 10                        MR. BRODY:       And if I may briefly
 11      respond on behalf of Johnson & Johnson and Mr. Haas.
 12                        Mr. Haas -- and first of all, I think
 13      that the events of this week, frankly, are relevant
 14      to the disqualification issue that is before the
 15      Court, because they speak to the ongoing prejudice
 16      to Johnson & Johnson of having Beasley Allen and
 17      Mr. Birchfield and Ms. O'Dell both representing
 18      plaintiffs in the litigation, in the MDL, in the MCL
 19      on a going-forward basis as evidenced by the events
 20      this week, where Johnson & Johnson announced a
 21      proposed plan that would resolve these cases.
 22                        It was immediately criticized in the
 23      press by Mr. Birchfield and by Ms. O'Dell, by the
 24      Beasley Allen firm.       I mean, within an hour or so of
 25      when it was announced.        And Mr. Haas responded to

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  1      the statements that were made first by
  2      Mr. Birchfield.
  3                        And so it's -- but, as a whole, it's
  4      something that we will likely get into to a degree
  5      today because it is directly relevant to how the
  6      parties are positioned, where Beasley Allen and
  7      Mr. Birchfield are positioned with the benefit of
  8      their relationship that they have, as Judge
  9      Schneider referred to as a collaboration, with
 10      Mr. -- with Mr. Conlan over a long period of time,
 11      unbeknownst to Johnson & Johnson last year.
 12                        And it creates what is not just a 1.6
 13      issue, and I understand why Mr. Pollock repeatedly
 14      refers to this as a narrow 1.6 issue, but it's a 1.9
 15      issue, it's a Rule 5.3 issue, it's a Rule 8.4 issue.
 16      It is much broader than where Mr. Pollock wants to
 17      put it.     But all of this, including the events of
 18      this week, are relevant to that question and to the
 19      Court's evaluation of what is the right answer going
 20      forward and what has to happen here.
 21                        MR. POLLOCK:        May I respond, Your
 22      Honor?
 23                        THE COURT:       Sure.       But let's keep in
 24      mind that this Court, you know, we all live in the
 25      world, these Courts live in the real world.               We

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  1      understand what's going on, and we can focus on what
  2      is at issue here.       And I can assure you, whatever is
  3      out there is not going to affect this Court's
  4      decision with regard to the underlying issue of
  5      disqualification.
  6                         MR. POLLOCK:       I understand, Your
  7      Honor.      And I'm not arguing, I'm not quibbling at
  8      all.     The only point I would make on that is what
  9      you say and how you say it is going to have
 10      ramifications and reverberations down the road,
 11      right, because the fact is these -- this transcript,
 12      these hearings, these discussions, I promise you
 13      Mr. Birchfield and his firm will be seeing it for
 14      years, and Mr. Haas and Mr. Brody or someone else
 15      will be using it as a lever for years to come.                So
 16      how we articulate it is going to be important.
 17                         If you will, I would like to step
 18      back for one second.        When we first talked, years
 19      ago, it was literally last year, we were talking
 20      about Trupos, we were talking about Yuna, O
 21      Builders, et cetera.        And when you -- I spent, I
 22      don't know, 20 years, 15 years on the ethics
 23      committee and another 10 on the character and
 24      fitness committee.       When someone is being attacked,
 25      where someone is being accused of an ethical

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  1      violation, it usually is referred to the ethics
  2      committee.      That's what those people do.          That's
  3      what I did for years.
  4                         And, typically, the person who is
  5      being accused or being challenged or being -- being
  6      attacked is told exactly what it is they're alleged
  7      to have done.      They're told with precision, This is
  8      the five funds you should not have taken; this was
  9      the alcoholism and drug, which unfortunately is half
 10      the matters we deal with.          It was a specific
 11      allegation of negligence and miscarriage, or
 12      something along those lines.
 13                         In this case, it has been a constant
 14      morphing.      I had to -- with Mr. Brody's first oral
 15      argument before you, Judge Porto, was there is no
 16      ethical violation, no RPC on point that we can find.
 17      None.
 18                         Judge Singh, you asked the question
 19      pointedly:      Do I need to find an RPC violation to
 20      disqualify?      Answer from Mr. Brody:        No.
 21                         He and I disagree vehemently on this
 22      point.      And by the way, I think the Supreme Court of
 23      New Jersey is squarely in my corner on this one.
 24      Once you got rid of the appearance of impropriety,
 25      which they did in 1984, under the Pollock

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  1      Commission --
  2                          THE COURT:     1993?
  3                          MR. POLLOCK:      I'm sorry.     '93, I
  4      apologize.
  5                          Once they came out with that one, at
  6      that point, the reality is that we shouldn't be here
  7      because I understand you want to do a credibility
  8      determination.       If that's what we're focused on,
  9      then the credibility can be determined by, Is Andy
 10      an honest guy?       Is Andy's firm committed to his
 11      clients?       You know, Why are they opposing the
 12      bankruptcy?       If you want to, you can get into all of
 13      those issues.
 14                          But what Mr. Brody now is saying is
 15      let's just try all the issues right here.              I'm ready
 16      to do it.       If that's what we want to do, I'm ready
 17      to do it, and we will proceed.             But I just think
 18      that what the Supreme -- the reason the Supreme
 19      Court said you should decide it on the papers,
 20      unless -- and you grabbed onto this, Judge Porto,
 21      and I'm not criticizing you, but you appropriately
 22      said:       Hey, I got some issues.        I want to look at
 23      credibility.
 24                          It's not supposed to be a free for
 25      all.    Now I'm looking at RPC 1.6, sharing of

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  1      confidential information.          Somehow I'm now looking
  2      at 1.9 and 1.10.      I've got other rules I haven't
  3      even looked at yet that Mr. Brody is now
  4      articulating.     I have never in my 35 years of
  5      practice seen an ethics matter, which this is
  6      becoming, alleged where someone is not told, This is
  7      what you're accused of doing.            And that is a real
  8      problem here.
  9                        So I -- if we want to have the scope
 10      be broad, Mr. Brody is arguing that this week's
 11      discussion showed that, you know, that Mr. Haas is a
 12      great guy and Beasley Allen is a bad guy.              How is
 13      that conceivably relevant in any way to the question
 14      of whether Mr. Conlan shared confidential
 15      information with my client.           Isn't that the issue
 16      we're here before you.
 17                        THE COURT:       That's what Judge Singh
 18      and I believe the issue is.
 19                        MR. POLLOCK:        So to me, if we go
 20      miles and miles beyond that, it has ramifications --
 21                        THE COURT:       I haven't seen it go that
 22      far, and I don't think --
 23                        MR. POLLOCK:        He just argued he wants
 24      to do it.
 25                        THE COURT:       I didn't hear that yet.

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  1      But, you know, it squarely is:             Did Mr. Conlan share
  2      confidential information with Beasley Allen?               You
  3      know, if I were to write a decision today, I would
  4      say, The issue before this Court is:             Did Mr. Conlan
  5      share confidential Johnson & Johnson information
  6      with Beasley Allen.
  7                         MR. POLLOCK:       I'm with you.
  8                         THE COURT:      And I would then start
  9      with the, as we did in law school:             rules, analysis,
 10      conclusion.
 11                         MR. POLLOCK:       Yup.
 12                         THE COURT:      Credibility based on the
 13      seven factors that are found, candidly, in our
 14      evidence rules, consistency, et cetera, does it make
 15      sense.      And understandably, I was also thinking
 16      about this on my way in, is you have the charge
 17      where "is false in one false in all," does that come
 18      into play with regard to credibility.
 19                         So I think, and I will turn the dais,
 20      the bench over to Judge Singh, but that's the issue
 21      that we're here for.        That's it.
 22                         Judge Singh?
 23                         JUDGE SINGH:       I don't disagree.       And
 24      you are all familiar with federal court standards
 25      for motions for disqualification, as well.               So we

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  1      are looking at the same issue and the ramifications
  2      thereof.
  3                        MR. BRODY:       Absolutely.     And the
  4      questioning that I -- the 30, 40 minutes that I have
  5      is focused on wrapping up the rest of that and,
  6      hopefully, giving the Court what it needs in order
  7      to evaluate the questions that it's going to have to
  8      evaluate here.
  9                        It's -- you know, certainly, this is
 10      not an appearance of impropriety case; this is a
 11      case of actual impropriety.           And we are looking
 12      forward, based on the record that has been
 13      developed, to setting that out, and in the briefing
 14      that the Court has asked for, and explaining
 15      precisely why it is that you have actual
 16      impropriety, you have actual violations of the
 17      ethical rules, and why it is that disqualification
 18      is required here.
 19                        MR. POLLOCK:        Thank you, Your Honors.
 20                        THE COURT:       All right.     Thank you.
 21                        Mr. Birchfield, we'll administer the
 22      oath one more time, today, May 3rd, 2024.
 23                        Mr. Birchfield, please raise your
 24      right hand, tell us your name, and spell your last
 25      name, sir.

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  1                         THE WITNESS:            Andy Birchfield,
  2      B-I-R-C-H-F-I-E-L-D.
  3                                   -    -    -
  4                         ANDY BIRCHFIELD, having been duly
  5      sworn, was examined and testified as follows:
  6                                   -    -    -
  7                         THE COURT:         Thank you.     You may be
  8      seated.
  9                         Mr. Brody.
 10                                   -    -    -
 11                            CROSS EXAMINATION
 12                                   -    -    -
 13      BY MR. BRODY:
 14                  Q.     Good morning, Mr. Birchfield.
 15                  A.     Good morning.
 16                  Q.     You recall providing testimony on
 17      April 10th about a draft term sheet that was
 18      exchanged between your firm and Legacy?
 19                  A.     Yes.
 20                  Q.     All right.         And we had looked at --
 21      we had given you a copy of the full privilege log
 22      that was prepared by the plaintiffs steering
 23      committee asserting mediation privilege over
 24      documents that we had subpoenaed from KCIC.
 25                         Do you recall that?

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  1                  A.    Yes.
  2                  Q.    All right.        I have prepared, and if I
  3      may approach, an excerpt of that to make it a little
  4      easier to talk about the term sheet.             I'm happy to
  5      give you the full privilege log, as well.               I see you
  6      didn't bring a copy of it up with you.             But I
  7      prepared an excerpt with the references to the term
  8      sheet taken directly from that, which I thought
  9      would make it easier.
 10                        If I may approach?
 11                        THE COURT:        You may approach.      Did
 12      you share that with Mr. Pollock?
 13                        MR. POLLOCK:         Yes, I have a copy,
 14      Your Honor.
 15      BY MR. BRODY:
 16                  Q.    And I can give you a bigger one,
 17      which has larger font, if you think it would be
 18      helpful.
 19                  A.    I'll use this.          Let me try.
 20                  Q.    Now, we're going to take this in
 21      chronological order.        We have sorted the spreadsheet
 22      that the PSC provided to us and we put it in
 23      chronological order here.
 24                        So, going in chronological order,
 25      starting at the top, the first time we see your name

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  1      is on May 12th of last year, right?                  It's the second
  2      entry.
  3                  A.         The second entry on here is May 12th,
  4      yes.
  5                  Q.         And you're listed as the author,
  6      correct?
  7                  A.         Correct.
  8                  Q.         And you're listed as the author of a
  9      Draft Term Sheet for Legacy Ovarian Cancer Claim
 10      Proposal, right?
 11                  A.         That's correct.
 12                  Q.         All right.        And then if you -- if you
 13      continue just below the two entries with your name,
 14      you see that on the 16th of May, Mr. Conlan --
 15                             MR. POLLOCK:         I think -- mine is May
 16      24th.       On the top.       Okay.      Got it.
 17      BY MR. BRODY:
 18                  Q.         The document number for the          record
 19      is 111.          Do you see it?
 20                  A.         Yes.
 21                  Q.         And so on the 16th, Mr. Conlan
 22      forwarded the proposal to KCIC, right?
 23                  A.         I see that entry.
 24                  Q.         And the plaintiffs steering committee
 25      has asserted mediation privilege over that

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  1      communication, as well, right?
  2                  A.    Yes.
  3                  Q.    Because your position is that the
  4      mediation privilege covers Mr. Conlan's
  5      communications with KCIC in this instance, right?
  6                  A.    I presume so.
  7                  Q.    As well as what you wrote in your
  8      communications with Mr. Conlan, correct?
  9                  A.    Yes.
 10                  Q.    And there are a number of emails back
 11      and forth addressing the term sheet.             And then, if
 12      we go down into the green, which gets us to
 13      May 24th, which is about 12 days after your name
 14      first appears, we see your name again, right?                It's
 15      number 20 in the document number column.
 16                  A.    Yes.
 17                  Q.    And that's May 24th, 2023, correct?
 18                  A.    Yes.
 19                  Q.    And that's, again, the Draft Term
 20      Sheet for Legacy Ovarian Cancer Claim Proposal,
 21      right?
 22                  A.    Yes.
 23                  Q.    But this time, what was on the 12th
 24      of May a seven-page document has grown to eight
 25      pages, hasn't it, if you look at the page count

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  1      column?
  2                  A.    I see that entry on here.
  3                  Q.    Right.      And then it looks like there
  4      are a number of copies of it.             You know, we see
  5      document 42, document 135.            They're all eight pages,
  6      right?
  7                  A.    That -- that's the entries here, yes.
  8                  Q.    All right.        Now, if you flip over to
  9      the next page and we move forward to June 7th, it's
 10      highlighted in green at the bottom.             Do you see
 11      that?
 12                  A.    Yes.
 13                  Q.    And you see the document number 45?
 14                  A.    Yes.
 15                  Q.    That document, document number 45,
 16      you're the author of that, right?
 17                  A.    I'm listed as the author, yes.
 18                  Q.    That's a Draft Term Sheet for Legacy
 19      Ovarian Cancer Claim Proposal, correct?
 20                  A.    Yes.
 21                  Q.    And by that point, which is another
 22      two weeks exactly after the May 24th version, it had
 23      grown to 10 pages, hadn't it?
 24                  A.    The -- the entry here is 10 pages.
 25      That is correct.

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  1                  Q.    Right.
  2                  A.    I don't --
  3                  Q.    And exact same description, Draft
  4      Term Sheet for Legacy Ovarian Cancer Claim Proposal,
  5      correct?
  6                  A.    Yes.     I can't say that that is the --
  7      you know, that the term sheet grew to 10 pages.
  8      That's a general description.             That's the number of
  9      pages that's in the entry.            I haven't -- I haven't
 10      reviewed any of it to see what that, you know, what
 11      that transmission was.
 12                        But the essence of that term sheet as
 13      I described previously, that was our term sheet.                  It
 14      was a term sheet that had been prepared before,
 15      before the dismissal of LTL 1, as we were -- and
 16      before the filing of J&J's second bankruptcy.                We
 17      had prepared a term sheet.            We had prepared a term
 18      sheet and offered to meet and present that term
 19      sheet --
 20                  Q.    And that's -- and Mr. Birchfield, I
 21      think you're getting very far afield from my
 22      question.
 23                        THE COURT:        Let him complete his
 24      thought, Mr. Brody.
 25                        MR. BRODY:        Sure.

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  1                           THE WITNESS:      And as I've testified
  2      previously, that term sheet was prepared and there
  3      were no substantive changes in any discussions with
  4      -- with Legacy regarding that term sheet.
  5                           Scott Gilbert --
  6      BY MR. BRODY:
  7                  Q.       That's -- I think that's -- and just
  8      on that point, on conversations, we actually see a
  9      reference to a conversation that you had with Legacy
 10      and KCIC.        It's document 118.       It's the same date,
 11      June 7th, 2023.        It's just three or four lines below
 12      the entry we were looking at.             And there's a
 13      reference to a KCIC and Legacy discussion of
 14      conversation with ovarian cancer counsel regarding
 15      comments on draft ovarian cancer term sheet, right?
 16                  A.       Right.
 17                  Q.       As well as discussing additional
 18      ovarian cancer resolution proposal details, right?
 19                  A.       That is -- that's what the entry
 20      says, and --
 21                  Q.       Yeah.    And ovarian cancer counsel
 22      did, I mean, as you just mentioned in your prior
 23      answer, have discussions with Legacy about the term
 24      sheet, correct?
 25                  A.       We discussed the term sheet and we

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  1      provided the draft term sheet to KCIC, and there
  2      were discussions about the -- how the term sheet
  3      would be applied.        The terms of that agreement would
  4      be applied in a claims administration process.                That
  5      was the role of KCIC.
  6                  Q.       You didn't just provide it to KCIC.
  7      You also provided it to Mr. Conlan, because as we
  8      saw, he forwarded on May 16th the draft term sheet.
  9      He was the one who forwarded it to KCIC, right?
 10                  A.       Correct, because KCIC is the claims
 11      administrator who was working with -- working with
 12      Legacy, that Legacy had brought in.
 13                  Q.       And then you all got together and you
 14      discussed it.        And over the course of the next
 15      three, four weeks, as we see from the privilege log,
 16      the page count grew from seven to eight and then to
 17      10 pages, right?
 18                           MR. POLLOCK:      Objection;
 19      argumentative, assumes facts not in -- not in
 20      evidence.        The document actually could be red-lined.
 21      We have no idea why it went from four to eight to
 22      10.    We have no clue where it came from.
 23                           THE COURT:     Well, I'm going to
 24      overrule the objection.           But why don't you clarify
 25      with your questions, Mr. Brody, how it grew, why it

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  1      grew, and maybe get testimony from Mr. Birchfield
  2      who will provide background with regard to the
  3      length of this particular document.
  4                        MR. BRODY:       Sure.
  5                        THE COURT:       I don't think it's
  6      argumentative, but, you know, address the question
  7      then.
  8                        MR. BRODY:       Sure.
  9      BY MR. BRODY:
 10                  Q.    Based on the privilege log, the page
 11      count for what is described as that proposal started
 12      at seven pages, became eight pages, and then became
 13      10 pages; right?
 14                  A.    The entries on this privilege log do
 15      change, just as you said.          That does not -- that
 16      does not tell me that the term sheet, itself, is
 17      being changed in any respect.            So I can acknowledge
 18      that that's what the entries say.
 19                  Q.    Now, if I --
 20                  A.    I can't go beyond that.
 21                  Q.    -- understood your testimony on April
 22      10th, the last time we were here, your position is
 23      that it was just, and I'm going to use your words
 24      from the transcript, grammatical type stuff that was
 25      addressed in the back and forth, right?

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  1                  A.      That's correct.        There were no
  2      substantive changes.
  3                  Q.      Right.   And you were willing to say
  4      that, but you're asserting that the substance of the
  5      term sheet, itself, is privileged, so we can't see
  6      it; right?
  7                  A.      If you want to see the term sheet,
  8      I'll be glad to show you the term sheet.                What I'm
  9      not willing to do here -- I was prepared, I was
 10      prepared on behalf of the ovarian cancer committee
 11      to present that term sheet to J&J, to the general
 12      counsel, Ms. Forminard and Mr. Haas, about two weeks
 13      before the second bankruptcy petition was filed.
 14                          We made that offer.           We were prepared
 15      to -- to share that term sheet.                That is -- that is
 16      not an issue.       But what we were not prepared to do
 17      was to eviscerate the mediation privilege and just
 18      say -- because this is -- this is covered in the
 19      mediation process.       That's why we asserted the
 20      privilege.       It's not that the term sheet is
 21      secretive.       This was a term sheet that would have
 22      gone to J&J.       We were prepared to present it to J&J.
 23                  Q.      So you asserted the mediation
 24      privilege over the version that is described as the
 25      seven-page version of the term sheet, over the

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  1      eight-page version of the term sheet, over what is
  2      described as the 10-page page count version of the
  3      term sheet, over the discussions that the ovarian
  4      cancer counsel had with Legacy about the term sheet;
  5      you have asserted mediation privilege over all of
  6      that, right?
  7                        MR. POLLOCK:        Objection; it's
  8      argumentative.      This is a -- this is a closing
  9      argument made in the middle of questioning.               Does he
 10      really -- he knows the mediation privilege has been
 11      asserted.    He's already stipulated that the page
 12      count is the page count.         So it's inappropriate for
 13      counsel to be making an argument to the Court like
 14      this is a jury.
 15                        THE COURT:       Mr. Brody.
 16                        MR. BRODY:       I just asked him if he's
 17      asserting mediation privilege as to all the
 18      different versions of the term sheet, as well as the
 19      discussions that were had with Mr. Conlan --
 20                        MR. POLLOCK:        We're asserting the
 21      mediation privilege.
 22                        MR. BRODY:       -- about the term sheet.
 23      That's the question.
 24                        THE COURT:       Across all three
 25      documents?

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  1                        MR. POLLOCK:        Your Honor, Judge
  2      Schneider has ruled on these issues.                We are
  3      asserting the mediation privilege.                I'll answer for
  4      the witness.     We're standing by it.
  5                        THE COURT:       Okay.        Notwithstanding
  6      that Mr. Birchfield said he was prepared to share
  7      that document with J&J?
  8                        MR. POLLOCK:        He was prepared to
  9      provide a document to J&J.           He didn't say which one.
 10      He said he was going to provide a term sheet to J&J.
 11      You've got multiple variations, you've got comments
 12      of counsel.     I would doubt that J&J would provide us
 13      with a draft that has all their mark-ups.                We're
 14      certainly willing and able right now to provide a
 15      term sheet to them, if that's what they want.                   But
 16      I'm not going to give him a mediation-privileged
 17      protected document.
 18                        THE COURT:       Okay.        So the privilege
 19      was asserted then, Mr. Brody.
 20                        MR. BRODY:       Yes.        And I think
 21      Mr. Pollock just frankly made my point.                So why
 22      don't we talk about something that was happening at
 23      the same time these term sheets were going back and
 24      forth.
 25      BY MR. BRODY:

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  1                  Q.    The whole time that you were sending
  2      term sheets back and forth to Legacy and to KCIC,
  3      you and the tort claimants committee were trying to
  4      get the LTL 2 bankruptcy dismissed, right?
  5                  A.    Yes.     I'm just trying to -- trying to
  6      get the timing right.         I mean, we -- we had -- we
  7      did not engage.      We didn't have any discussions with
  8      -- with Legacy until after, until after the second
  9      bankruptcy petition, you know, was filed.
 10                        So while -- so, yes, the mediate --
 11      the -- Judge Kaplan ordered mediation after LTL 2
 12      was filed, and that's the period when we were having
 13      discussions with Legacy.
 14                  Q.    Right.      And if I -- let me make this
 15      simpler, if you will allow me to do it this way.
 16                        If I told you that the claimants
 17      committee filed its motion to dismiss the bankruptcy
 18      on April 24th of last year, would you disagree with
 19      me?
 20                  A.    No.
 21                  Q.    All right.        And then, as we saw, at
 22      least from the documents on the privilege log, the
 23      first version of the term sheet that you sent over
 24      to Legacy was on May 12th, while that was pending?
 25                  A.    Correct.

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  1                  Q.     Now, you knew, of course, that
  2      Johnson & Johnson wanted plan confirmation in the
  3      bankruptcy proceeding, right?              That was    Johnson &
  4      Johnson's objective, correct?
  5                  A.     Right.
  6                  Q.     And then you filed a motion to
  7      dismiss, correct?
  8                  A.     Yes.     I mean, I didn't.         The TCC did,
  9      but I'm part of that.
 10                  Q.     You're part of that, right?            I'm
 11      putting you in with the TCC, because you were part
 12      of the TCC?
 13                  A.     Yes.
 14                  Q.     You didn't want the plan to come up
 15      for a vote, right?
 16                  A.     We -- no, we did not want J&J's plan
 17      to come up for a vote.          We were prepared --
 18                  Q.     Neither did --
 19                         MR. POLLOCK:         Your Honor, he keeps on
 20      doing this.      I want him to answer the question,
 21      please.
 22                         THE COURT:        Well, so does this Court.
 23      So go ahead, Mr. Birchfield.
 24                         THE WITNESS:         So we were -- we were
 25      preparing at the -- at the same time that we were

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  1      moving forward with our motion to dismiss, we were
  2      also preparing an alternative plan to be presented.
  3      And we had asked the Court, if the Court denied our
  4      motion to dismiss, we -- we wanted to present an
  5      alternative plan.        And that -- that would have been
  6      voted on, had the -- had the judge -- had Judge
  7      Kaplan not dismissed the bankruptcy and had allowed
  8      us to move forward with a competitive plan.
  9      BY MR. BRODY:
 10                  Q.    I guess Mr. Conlan didn't want the
 11      bankruptcy plan to come up for a vote, either, did
 12      he?
 13                        MR. POLLOCK:         Objection; asks for
 14      speculation as to what Mr. Conlan wanted.              He's not
 15      here to testify.
 16                        THE COURT:        Unless Mr. Birchfield
 17      knows.
 18                        THE WITNESS:         I don't know.
 19      BY MR. BRODY:
 20                  Q.    But you heard Mr. Conlan testify on
 21      April 10th that if the Legacy proposal was accepted,
 22      he and Legacy would stand to make money, correct?
 23                  A.    Yes.
 24                  Q.    Right.      And that's not something that
 25      he would be able to take advantage of if J&J's

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  1      preferred resolution through a plan confirmation in
  2      the bankruptcy court had been accomplished, correct?
  3                  A.         That's true only if you accept the
  4      version of the plan that J&J put forward.                     A
  5      bankruptcy plan that did include an option for the
  6      Legacy toggle, I believe as he testified to
  7      previously, that would have been -- that would have
  8      been part of a bankruptcy plan.                     It would have
  9      included an option.            It would have included in the
 10      alternative plan that we were putting forward.                        That
 11      was part of the discussions that were going on at
 12      that time.
 13                  Q.         And your alternative was -- was not
 14      what J&J put forth, was it?
 15                  A.         No.   It is very clear that what --
 16      what I want on behalf of my clients, which is a fair
 17      and reasonable compensation plan, is not what J&J
 18      wants, and we are opposed to that.                     It is not --
 19                  Q.         And so --
 20                  A.         -- that we're opposed to bankruptcy,
 21      period.          Because in the very beginning, before --
 22      before J&J filed its first bankruptcy, we were
 23      working toward a resolution.                 We were working toward
 24      a resolution that would have included a bankruptcy
 25      component.

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  1                          When J&J filed its first bankruptcy,
  2      I was pushing, as Mr. Haas knows, I was pushing --
  3                          MR. BRODY:     We -- we're so far afield
  4      of my question.
  5                          THE COURT:     I'm going to let him
  6      complete the testimony.          I'm not going to have a
  7      filibuster, so to speak.
  8                          But go ahead, Mr. Birchfield.
  9                          THE WITNESS:      It's not that we were
 10      opposed to bankruptcy, period.             Not at the
 11      beginning, because we were trying, we were trying to
 12      negotiate.       Before the LTL motion to dismiss, we
 13      were negotiating a plan in bankruptcy.             It was only
 14      after it became very clear that we would not be able
 15      to get reasonable compensation for our clients as
 16      long as J&J had the weapon of a bankruptcy plan.
 17      That's when we became adamant that --
 18                          THE COURT:     And I think that's a good
 19      place to stop, Mr. Birchfield.
 20                          Go ahead, Mr. Brody.
 21                          MR. BRODY:     Thanks.
 22      BY MR. BRODY:
 23                  Q.      So Mr. Birchfield, I think, even
 24      after all of that, that we are on the same page
 25      here, is that this Legacy toggle that you talked

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  1      about was not what J&J was proposing and not what
  2      J&J wanted to accomplish through the LTL 2
  3      bankruptcy, correct?
  4                  A.    They did not want to -- they did not
  5      want to do the -- they didn't want to pay the added
  6      amount that would be necessary.                But what J&J was
  7      saying at that point was that they wanted finality.
  8      They are looking for finality.             They are taking the
  9      position it would only be achieved through
 10      bankruptcy, which is false.           And the Legacy -- the
 11      Legacy option was a way for J&J to get finality
 12      without -- without coercing claimants into a
 13      bankruptcy plan.
 14                  Q.    That was -- that was -- I mean, let's
 15      -- you understand that J&J would object to the use
 16      of the word "coerce" being attached to that, right?
 17                  A.    No.
 18                  Q.    And you understand -- I mean, come
 19      on, Mr. Birchfield.       J&J -- you know J&J proposed an
 20      $8.9 billion resolution of the claims through the
 21      LTL 2 bankruptcy that it wanted claimants to be able
 22      to vote on, right?
 23                  A.    That is true.
 24                  Q.    And you did not want claimants to be
 25      able to vote on that, did you?

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  1                  A.    It's not that I was opposed to
  2      claimants voting.       It is -- and it's not --
  3                  Q.    That's why you --
  4                        MR. POLLOCK:        Your Honor, please.
  5                        THE COURT:       Hold on, Mr. Birchfield.
  6                        MR. POLLOCK:        He's answering
  7      the questions.
  8                        THE COURT:       Let me hear the full
  9      testimony based on that question first.                Do you
 10      remember the question, Mr. Birchfield?
 11                        THE WITNESS:        That I'm opposed --
 12      that I'm opposed to claimants voting.
 13                        THE COURT:       Right.
 14                        THE WITNESS:        We're not opposed to a
 15      vote that would be a fair vote.                We are opposed --
 16      we are opposed to a plan that would essentially
 17      stuff the ballot box in order to coerce the more
 18      serious and legitimate claimants to accept
 19      unreasonable values.
 20      BY MR. BRODY:
 21                  Q.    You didn't want the claimants who
 22      would have a right to vote on the plan to be able to
 23      vote on the plan; that's why you wanted to dismiss
 24      the bankruptcy, right?
 25                        MR. POLLOCK:        Objection, Your Honor.

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  1      Asked and answered twice now.
  2                             THE COURT:        Well, I don't know if he
  3      answered, if I've heard the answer to that question.
  4                             Mr. Birchfield.
  5                             THE WITNESS:         There were multiple
  6      reasons that we were opposing a bankruptcy.
  7      BY MR. BRODY:
  8                  Q.         And that was one of them, right?
  9                  A.         No.    We were -- we were opposing a
 10      vote as J&J had constructed in that plan, yes.
 11                  Q.         Right.
 12                             THE COURT:        Let us get back to our
 13      central issue, Mr. Brody.                I know it appears you're
 14      trying to lay some groundwork here, but let's not
 15      lose focus of what our issue is as regards to the
 16      allegations against Mr. Conlan.
 17                             MR. BRODY:        Of course.
 18      BY MR. BRODY:
 19                  Q.         So, Mr. Birchfield, before we
 20      recessed on April 10, you started testifying about
 21      your willingness in the fall of last year to join
 22      Mr. Conlan to present a proposed settlement matrix
 23      to J&J.          Do you recall that testimony?
 24                  A.         Yes.     Mr. Conlan had asked me if I
 25      would --

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  1                  Q.    It's just a yes.             I just asked you if
  2      you recall that testimony.           That's all I asked.
  3                  A.    Would I be -- he -- would I be
  4      willing to join with him --
  5                  Q.    It's a yes or no.
  6                        MR. POLLOCK:        Your Honor.
  7                        MR. BRODY:       I'm just --
  8                        MR. POLLOCK:        It's not a yes or no.
  9                        MR. BRODY:       -- orienting him.
 10                        MR. POLLOCK:        If he needs to give you
 11      a narrative response, he gives you a narrative.                    I
 12      think it can be a brief answer, but Mr. Brody keeps
 13      on clipping off his answers because he doesn't like
 14      the answer.
 15                        THE COURT:       Well, I don't necessarily
 16      know if Mr. Brody likes or dislikes the answer.                    But
 17      focusing-wise, what's your response to that question
 18      or your testimony, Mr. Birchfield?
 19                        THE WITNESS:          Will you repeat the
 20      question?
 21      BY MR. BRODY:
 22                  Q.    Sure.     My question was simply:           Do
 23      you recall, before we recessed on April 10th,
 24      beginning to talk about your willingness to join
 25      Mr. Conlan to present a proposed settlement matrix

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  1      to Johnson & Johnson in the fall of last year?                Do
  2      you recall that testimony?
  3                  A.    I do not recall that testimony
  4      specifically.     I did agree to meet with J&J to
  5      explain the matrix.
  6                  Q.    And we -- we received a lot of
  7      testimony on it, so I don't want to spend too much
  8      time on it, but we see your willingness reflected
  9      and disclosed to J&J for the first time on October
 10      18th of last year in an email from Mr. Conlan that's
 11      in your binder as Hearing Exhibit 4.
 12                        You -- you can take a look at it.
 13                        THE COURT:       Do you have that binder,
 14      Mr. Birchfield?
 15                        THE WITNESS:        I do.    I do, Your
 16      Honor.
 17                        THE COURT:       Okay.
 18                        THE WITNESS:        So, Mr. Brody, may I
 19      ask, what is the question?           I mean, are you asking
 20      me, because you're saying that that's the first time
 21      that he disclosed --
 22                        MR. BRODY:       I'm asking you --
 23                        THE WITNESS:        -- and I can't answer
 24      that.
 25      BY MR. BRODY:

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  1                  Q.      I'm asking you if you're familiar
  2      with that, that exhibit.
  3                  A.      I mean, yes, I am familiar with the
  4      exhibit, you know, since this -- since it's been
  5      filed, Exhibit Number 4.
  6                  Q.      Now, October 18th of last year, that
  7      was shortly after the Mass Torts Made Perfect
  8      conference that took place in Las Vegas last fall,
  9      right?
 10                  A.      That sounds right.
 11                  Q.      And you heard Mr. Murdica mention
 12      that he had actually attended that conference last
 13      fall.       He testified to that on March 25th, right?
 14                  A.      I know that he was in Las Vegas.            I'm
 15      not sure that he attended the conference, but he was
 16      there.
 17                  Q.      All right.        And the conference was
 18      October 10th to the 12th of last year, last fall's
 19      version?
 20                  A.      That sounds about right.         I don't
 21      recall specifically.
 22                  Q.      And this is something that happens
 23      regularly, right, this conference?
 24                  A.      Yes.     There would be an annual --
 25      annual meeting.

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  1                  Q.    And it's a conference where
  2      plaintiffs' lawyers come together from around the
  3      country to talk about things like the talc
  4      litigation, right?
  5                  A.    Yes.
  6                  Q.    You -- you pitched the Legacy
  7      proposal to other talc plaintiffs' lawyers at the
  8      Mass Torts Made Perfect meeting last year, didn't
  9      you?
 10                  A.    No.
 11                  Q.    You discussed it with them?
 12                  A.    I may have had discussions about an
 13      option that would give J&J finality, yes.
 14                  Q.    Right.      An option involving
 15      structural optimization and disaffiliation, correct?
 16                  A.    Yes.
 17                  Q.    Because you were trying to garner
 18      support for the proposal that you had been
 19      discussing with Mr. Conlan?
 20                  A.    No.    I mean --
 21                  Q.    Was Mr. Conlan there, by the way, at
 22      Mass Torts Made Perfect last year?
 23                  A.    Not that I know of.
 24                  Q.    All right.        Going back to the Hearing
 25      Exhibit 4, you see that Mr. Conlan there offered

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  1      that you, Doug Dachille, and he were prepared to
  2      meet with J&J's treasurer in person to share and
  3      discuss the terms of a matrix, right?
  4                  A.    Yes.
  5                  Q.    And that's a matrix that, I take it
  6      from your testimony, that you developed, right?
  7                  A.    Yes.     I mean, I developed it along
  8      with the ovarian cancer negotiating group, yes.
  9                  Q.    And shared it with Mr. Conlan and
 10      Legacy, right?
 11                  A.    Yes.
 12                  Q.    And, you know, at the end of the day,
 13      based on an anticipated number of claimants and the
 14      values assigned to claims in a matrix, the math has
 15      to work if that matrix is going to be associated
 16      with a total dollar figure, right?
 17                        MR. POLLOCK:         Objection; vague.
 18                        THE COURT:        Vague?
 19                        MR. POLLOCK:         Vague.   I don't know
 20      what that means, that it has to work as to a total
 21      dollar figure.
 22                        THE WITNESS:         Well, I mean,
 23      obviously, if the total number of claimants that
 24      are, you know, that are submitted and are expected
 25      to receive compensation under that grid, if it

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  1      exceeds -- if it exceeds the total amount of the
  2      acquisition by a significant number, then it
  3      wouldn't work.      That's -- that is true.
  4      BY MR. BRODY:
  5                  Q.    Right, right.          So if -- yeah, you
  6      can't -- you can't put together a claims matrix
  7      where, you know, every claim's worth a million
  8      dollars, you have a hundred claims, and your funding
  9      it at $10 million.       You just can't do that, right?
 10                  A.    That's right.
 11                  Q.    All right.        Mr. Conlan was, of
 12      course, being honest, I think, as he testified with
 13      his offer to have you come in.              You were ready,
 14      willing, and able to come in and talk about the
 15      claims matrix, right?
 16                  A.    I was.
 17                  Q.    In connection with the proposal that
 18      Mr. Conlan was making to Johnson & Johnson for
 19      structural optimization and disaffiliation, right?
 20                  A.    Yes.
 21                  Q.    You had been actually in discussions
 22      with Mr. Conlan for months, at that point, right?
 23                  A.    If you look at the time of our first
 24      discussion, our first discussion was in -- the first
 25      time I ever met him.        It was in May.        May 2nd.    So

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  1      it had been months, true, it had been months between
  2      May and October.
  3                  Q.      Yeah, five and a half months?
  4                  A.      Yeah.
  5                  Q.      The day that email was sent was the
  6      day after Johnson & Johnson's third quarter earnings
  7      call.       You're aware of that, right?
  8                  A.      I'm aware that -- I'm aware that
  9      Mr. Haas made statements on October the 17th, and I
 10      can see the date of this, this letter on October the
 11      18th, yes.
 12                  Q.      Right.    And you knew -- I mean, you
 13      certainly knew that what was being proposed through
 14      Legacy was not what Mr. Haas had announced on the
 15      earnings call as any part of the company's preferred
 16      course through the bankruptcy process, right?
 17                  A.      Is the -- is the Legacy proposal a
 18      bankruptcy proposal?         No, it's not.
 19                  Q.      Right.
 20                  A.      What -- what we had understood --
 21                  Q.      And --
 22                          MR. POLLOCK:      Hold on, please.
 23                          THE WITNESS:      -- was that J&J was
 24      looking for finality, but we're -- and that was what
 25      we were making this proposal for.              I mean, that's

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  1      what -- that's why I agreed to submit a, you know, a
  2      matrix, and that's why I, you know, offered, you
  3      know, for the -- you know, to have Legacy considered
  4      as part of a mediation, as part of a bankruptcy, you
  5      know, toggle point.        Because this was a -- this
  6      would be a way that J&J could have gotten finality
  7      without -- without having a coercive bankruptcy plan
  8      in place.
  9                        You know, this would be -- this
 10      matrix, this proposal would be an opt-in proposal,
 11      so the claimants would -- and their counsel would
 12      look at the settlement grid, they would look at the
 13      terms of that grid, and they would choose; do we
 14      want to voluntarily participate, or not.
 15      BY MR. BRODY:
 16                  Q.    The proposal that was being made by
 17      Mr. Conlan and this settlement matrix it was
 18      attached to was not a bankruptcy proposal; it was a
 19      tort system proposal, wasn't it?
 20                  A.    Yes.
 21                  Q.    And the -- did -- I assume Mr. Conlan
 22      had -- had told you that J&J had told him that it
 23      did not believe the deal that he was proposing would
 24      actually provide finality?
 25                  A.    No.

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  1                  Q.         Did you -- did you miss that part of
  2      his testimony from April 10th?
  3                  A.         You're asking me if he told me that,
  4      that -- you're asking me --
  5                  Q.         I'm asking you -- well, let me ask
  6      you, did you know -- did you know that before April
  7      10th of this year?
  8                  A.         That J&J had told Mr. Conlan that the
  9      Legacy option would not give them finality?
 10                  Q.         That's right.
 11                  A.         Okay.     No.
 12                  Q.         Let's take a look at Hearing Exhibit
 13      7.
 14                  A.         I'm there.
 15                  Q.         So this is the more detailed letter
 16      from Mr. Conlan that actually attaches the
 17      settlement matrix, right?
 18                  A.         Yes.
 19                  Q.         And that's the settlement matrix that
 20      you were prepared to come in and talk about with J&J
 21      jointly with Mr. Conlan and Mr. Dachille, right?
 22                  A.         I would have been talking about the
 23      matrix.          I would have gone in with Mr. Conlan and
 24      Mr. Dachille if J&J had made that invitation, yes.
 25                  Q.         And this letter includes a $19

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  1      billion total price tag that is associated with a
  2      tort system resolution that tacks on your matrix,
  3      right?
  4                  A.         Yes.     I see -- I see that it is a --
  5      it is a -- it has a $19 billion number or such
  6      greater number as the, you know, the accountants,
  7      Pricewaterhouse, would determine is necessary to
  8      clear the noncash charge.                I see the number.
  9                  Q.         And he indicated that the proposal
 10      had been reviewed and was supported by leadership
 11      counsel on both the federal MDL and in state court
 12      cases across the country.                Do you see that?     It's on
 13      page 1.          The paragraph starts, "Put simply..."
 14                  A.         Yes.
 15                  Q.         And that was true, right?
 16                  A.         I had not seen -- I had not seen this
 17      proposal.          What I had, what we -- what I had
 18      discussed with him is that we would support a -- a
 19      Legacy option being presented to J&J.                It is -- this
 20      is a -- this would be an offer that J&J would have
 21      to accept.
 22                             If J&J -- if J&J were to accept, you
 23      know, this -- this option, then I would support -- I
 24      would support a -- a settlement agreement that
 25      incorporates this matrix that's attached as

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  1      Exhibit A.
  2                  Q.     And you knew that -- I mean, I
  3      certainly I expect you knew that it was supported
  4      not just by you, but you had talked about it with
  5      other -- other plaintiffs' counsel; fair?
  6                  A.     I have -- I knew that this would be
  7      supported because for four years, every day, every
  8      day, I had been working toward a resolution.                 So I
  9      talked to -- I talked to plaintiffs' lawyers about
 10      various options, and I have a high level of
 11      confidence that based on not only -- not only, you
 12      know, my work, but, you know, all of the members of
 13      the executive committee, all of the members of the
 14      TCC on the ovarian cancer side, we had been working
 15      on this intensely for a long time.
 16                         So I -- I knew --
 17                  Q.     And so --
 18                  A.     -- that it would be supported.
 19                  Q.     And so Mr. Conlan was telling the
 20      truth when he wrote to J&J's board that Legacy's
 21      proposal has been reviewed and is supported by
 22      leadership counsel on both the federal MDL and in
 23      state court cases across the country, right?
 24                  A.     I had not reviewed this proposal.                I
 25      had not seen this, this letter or this proposal as

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  1      it is written.      I had not seen that until you filed
  2      it.    But I did -- I did provide the matrix and I did
  3      -- I did say that I would support that, and we have
  4      leadership roles in both the MDL and state court, in
  5      state court litigations across the country.
  6                  Q.    And you -- you were on board with the
  7      statement that we saw from Mr. Conlan on October
  8      18th that lead counsel for the ovarian cancer
  9      claimants, including Andy Birchfield, for an MDL
 10      opt-in settlement matrix with Legacy would be
 11      expected to garner a 95 percent opt-in of current
 12      ovarian cancer claimants, right?
 13                  A.    Yes, I told him that.
 14                  Q.    Yeah, you -- that was going to be my
 15      next question.      That's what you told him, correct?
 16                  A.    Yes.
 17                  Q.    All right.        You were familiar -- by
 18      the way, at the same time all of this was going on,
 19      you publicly advocated for Mr. Conlan's proposal,
 20      right?
 21                  A.    So, that may be a -- that may be a
 22      bit of a stretch.        I mean, he -- he did, he did
 23      publish the structural optimization and -- in a
 24      op-ed piece, and I did, I did issue a press release
 25      that would have -- that said I think that this is a

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  1      -- this would be a win/win because it would give, at
  2      that point -- at that point I thought that J&J truly
  3      was looking for a way to get finality.             And -- and
  4      that would be a win for J&J, but we -- the
  5      plaintiffs were also looking for fair and reasonable
  6      compensation, you know, and -- and the right to
  7      choose, and not a coercive plan.
  8                  Q.    So, you know, you referred to a press
  9      release that you issued and to a piece that
 10      Mr. Conlan had written.          We have -- and we looked at
 11      it with Mr. Conlan.        The piece that he wrote is in
 12      your binder as Hearing Exhibit 15, if you could just
 13      verify that's what you were referring to.
 14                  A.    Yes.
 15                  Q.    And that was the one that was titled
 16      Time to Ditch the Texas Two-Step for a New Mass Tort
 17      Strategy, right?
 18                  A.    Yes.
 19                  Q.    And if you turn to Hearing Exhibit
 20      18, you express support for Mr. Conlan's article the
 21      very same day, right?
 22                  A.    That's true.
 23                  Q.    And your press release was titled Key
 24      Lawyer in Johnson & Johnson Talc Litigation Supports
 25      Call to Rethink Legal Strategies in Light of Failure

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  1      of Texas Two-Step, right?
  2                  A.         Yes.
  3                  Q.         And it indicates, "Leading mass tort
  4      lawyer, Andy Birchfield" -- that's you?
  5                  A.         Yeah.
  6                  Q.         -- "of the Beasley Allen law firm is
  7      expressing strong support for a thought-provoking
  8      article in Bloomberg Law authored by James Conlan, a
  9      seasoned expert in corporate restructuring and the
 10      former global practice leader of Sidley Austin's
 11      worldwide restructuring practice," right?
 12                  A.         Yes.
 13                  Q.         You didn't disclose that Mr. Conlan
 14      had represented J&J in the talc litigation, did you?
 15                             MR. POLLOCK:         Objection;
 16      argumentative.
 17                             THE COURT:        I don't find that
 18      argumentative, Mr. Pollock.
 19                             THE WITNESS:         I -- I didn't --
 20                             THE COURT:        Please answer the
 21      question, Mr. Birchfield.
 22                             THE WITNESS:         I did not say -- I
 23      didn't say anything about, you know, him working at
 24      Faegre.          This was -- this was -- the main point was
 25      the structural optimization and disaffiliation,

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  1      which he had developed while he was at Sidley, you
  2      know, at Sidley Austin.
  3                          At this, you know, at this point, you
  4      know, the only thing I knew about --
  5      BY MR. BRODY:
  6                  Q.      That's -- that's -- that's -- that's
  7      fine.       No, you've -- that's -- and I think you
  8      indicated that you didn't refer to the fact that he
  9      had been at Faegre Drinker, did you?
 10                  A.      I did not.
 11                  Q.      All right.        You didn't disclose the
 12      fact that you had been -- you know, you had met him
 13      and had been working with him for six months to the
 14      day at this point, right?
 15                  A.      At this point, I had -- I had met him
 16      six months prior.
 17                  Q.      Right.      And just two weeks before
 18      this, he had offered that he and you and
 19      Mr. Dachille would go into J&J to pitch this idea?
 20                  A.      Yes.     On November -- on October the
 21      18th, the letter you just showed me.
 22                  Q.      And somebody reading your press
 23      release wouldn't have known that, correct?
 24                  A.      Somebody reading this press --
 25      there's nothing said in there about -- about an

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  1      offer to, you know, to meet with J&J.             That's true.
  2                  Q.    You knew, however, at the time that
  3      you wrote this that this was the Texas -- the
  4      structural optimization and resolution through the
  5      tort system that was being pitched was adverse to
  6      J&J's preferred resolution through the bankruptcy
  7      process that had been announced by Mr. Haas on
  8      October 17th, just a couple of weeks before, right?
  9                  A.    I mean, I had -- Mr. Haas has made
 10      clear that his preference is bankruptcy, period.
 11                  Q.    And so what both you and Mr. Conlan
 12      advocated in your dual November 2nd public
 13      statements was adverse to what J&J wanted, right?
 14                  A.    I didn't know that.          I thought J&J
 15      wanted finality.      I know that Mr. Haas, you know,
 16      preferred bankruptcy.        What -- what I had put I had
 17      learned through, you know, through all of this
 18      process, through two mediations, estimation process.
 19      I had learned that J&J -- I had heard over and over
 20      again J&J is looking for finality.             They believed
 21      that finality could only be achieved through
 22      bankruptcy.      That was --
 23                  Q.    And you were advocating something
 24      else?
 25                  A.    I was -- I was looking for -- I was

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  1      looking for a way to give J&J what it said it
  2      wanted, and getting our clients what we believed
  3      they deserved.      And that's -- that's why, you know,
  4      when -- when Mr. Conlan presented, you know, a path
  5      that would offer finality to a company that had been
  6      done and you -- I had come to see that that had --
  7      that had viability.
  8                        And so -- so I -- I have submitted a
  9      matrix that would be part of that proposal to see if
 10      that proposal would be accepted -- acceptable to
 11      J&J.
 12                  Q.    And what you -- what you said is that
 13      plaintiffs' lawyers shared Mr. Conlan's vision of
 14      what you called a win/win solution where claimants
 15      can pursue their claims in the tort system, right?
 16                  A.    Yes.
 17                  Q.    It would certainly be a win for you,
 18      right?
 19                        MR. POLLOCK:         Objection.
 20                        THE WITNESS:         A win for me is a win
 21      for our clients, period.
 22      BY MR. BRODY:
 23                  Q.    The tort system resolution and your
 24      firm's position on the MDL PSC, you stand to get
 25      money from a common benefit fund in the MDL if

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  1      there's a tort system resolution, correct?
  2                  A.    That would be up to -- that would be
  3      up to the court.      That would be up to the MDL court.
  4      But it is also true that common benefit, you know,
  5      funds are available in bankruptcy proceedings, too.
  6                  Q.    Not in the J&J bankruptcy proposal,
  7      correct?
  8                  A.    I haven't -- I haven't seen, you
  9      know, the -- I haven't seen the TDP, you know, for
 10      -- for the next, but I'm sure that that's the -- I'm
 11      sure that that's the case, based on everything that
 12      I have -- I have heard so far.
 13                  Q.    So you were opposed to it, and you're
 14      not familiar with the terms of it?
 15                  A.    Oh, I'm familiar with the terms
 16      enough to know what the claimants would get or
 17      possibly could get.       I know the upper limits of what
 18      the claimants could get under the J&J proposal
 19      because I know it states in there, you know, in
 20      their proposal and what they have rolled out what
 21      the total amount would be.           And I know what the -- I
 22      have a very good idea of what the total number of
 23      claimants are.      So I know it falls far short of what
 24      claimants would be -- would be a reasonable and fair
 25      settlement for claimants.

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  1                  Q.    With all due respect, Mr. Birchfield,
  2      I don't -- I don't think you answered my question.
  3      And my question was simply -- well, let me -- I'll
  4      rephrase it so that I can be sure we're on the same
  5      page.
  6                        Are you so unfamiliar with the terms
  7      of the bankruptcy proposal that you were opposing
  8      and seeking to dismiss that you're not aware of
  9      whether money from that proposal would go into the
 10      MDL common benefit fund or not?
 11                  A.    I know the -- I know the terms that
 12      J&J put forward in their proposal, and that proposal
 13      did not -- did not provide for common benefit fees.
 14                  Q.    Right.     And you were also generally
 15      familiar with the terms of the MDL order
 16      establishing the common benefit fund, aren't you?
 17                  A.    I am.
 18                  Q.    And pursuant to the common benefit
 19      order that Judge Wolfson entered in the federal MDL,
 20      up to 12 percent, 10 percent fee and 2 percent cost,
 21      of any amount recovered on talc claims in the MDL is
 22      assigned to a common benefit fund, correct?
 23                  A.    No.     Up to -- up to 10 percent fees
 24      and up to 2 percent costs could be.            That's --
 25                  Q.    And that's exactly what I said,

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  1      right?
  2                  A.      I'm not so sure.              There are other
  3      provisions, so it's not a -- it's not determined.                      I
  4      mean, this is a -- you know, this is a -- an order
  5      that is entered to provide holdbacks on an interim
  6      basis.       At the end of the day, the Court, the
  7      Article III judge would make that determination
  8      about what the appropriate amount is.
  9                  Q.      Your general understanding, though,
 10      just -- just so we're clear, I don't think this is
 11      that complicated, is that the range of fees that
 12      could be contributed to the common benefit fund is
 13      anywhere from 8 percent to 12 percent of the gross
 14      recovery amount, depending upon whether or not the
 15      individual firms were early participants or not,
 16      right?
 17                  A.      It would be -- it would be 6 percent
 18      fees to 10 percent fees and 2 percent cost.
 19                  Q.      For a total of 8 to 12 percent,
 20      correct?
 21                  A.      Yes.
 22                  Q.      All right.
 23                  A.      Not fees, but fees and costs.
 24                  Q.      And that separate and apart from that
 25      8 to 12 percent, the fees that you, Beasley Allen,

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  1      otherwise charge your talc clients is a 40 percent
  2      contingency fee, correct?
  3                  A.    It's not -- it's not truly separate
  4      and apart because the, you know, the common benefit
  5      fees -- the common benefit fees are deducted from
  6      the contingency fees.
  7                  Q.    All right.       So let's just talk about
  8      the common benefit fees.         Okay?
  9                  A.    Okay.
 10                  Q.    We're talking about --
 11                        MR. POLLOCK:        Your Honor --
 12      BY MR. BRODY:
 13                  Q.    -- 8 to 12 percent?
 14                        THE COURT:       Sure.
 15                        MR. POLLOCK:        We're here on RPCs 1.6,
 16      1.10.
 17                        THE COURT:       You have a relevancy
 18      question, right?
 19                        MR. POLLOCK:        He had this whole
 20      discussion in the press.
 21                        THE COURT:       I don't need to catch up,
 22      Mr. Pollock.
 23                        Mr. Brody, how is this relevant with
 24      regard to the conflict, the alleged conflict with
 25      Mr. Conlan?

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  1                        MR. BRODY:        It's relevant to the
  2      motivations for Mr. Birchfield to, you know, in
  3      violation of the ethical rules, align himself with
  4      Mr. Conlan without paying mind to the ethical rules,
  5      without disclosing to J&J that he was working with
  6      its former outside counsel from Faegre Drinker.
  7                        All of it goes to why it is -- and it
  8      frankly goes to credibility, as well -- why it is
  9      that Mr. Birchfield would so recklessly align
 10      himself with one of J&J's former outside lawyers on
 11      the very same matter.
 12                        MR. POLLOCK:         There's no proffer that
 13      Mr. Conlan and Mr. Birchfield are sharing fees.
 14      There's no proffer there's an agreement between
 15      Mr. Birchfield and Mr. Conlan to share fees.               What
 16      this is has nothing to do, zero to do with what's
 17      before you.
 18                        This is Mr. Haas' effort to try and
 19      get a sound byte in the national press so he can
 20      attack Beasley Allen on a different matter outside
 21      this courtroom, which is that they're greedy buggers
 22      who are simply trying to make money.             That's his
 23      argument, and it's a wonderful argument.
 24                        Andy has a great argument in
 25      response:     I'm not.     I'm trying to get a fair and

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  1      reasonable compensation for my clients.              And he'll
  2      have the opportunity to answer that.
  3                        But respectfully, Your Honor, this is
  4      -- if we're going to try the Beasley Allen law firm,
  5      then we ought to get all the facts up here.               Let's
  6      just go do it.      But if we're here to try the ethics
  7      issue as a basis for disqualification, this is so
  8      far remote, so prejudicial, we should cut it off
  9      right now.
 10                        THE COURT:       I don't know if it's
 11      prejudicial.     I don't know if it's remote.            I think
 12      there's some relevancy, Mr. Brody.             We can't really
 13      -- you know, we understand, and the Court can take
 14      judicial notice of the common benefit fund.               We all
 15      know that.     We know that plaintiffs' attorneys, you
 16      know, have a percentage that's built into any
 17      recovery.
 18                        But let's get it back focused to
 19      whether Mr. Conlan, or not, shared confidential J&J.
 20      So, you know, to the extent J&J is trying to suggest
 21      there's motivation here, or not, I think it gets a
 22      little bit remote with regard to relevancy and why
 23      we're here.
 24                        So I don't know if you want to adjust
 25      your questions, fine-tune your questions, but I

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  1      don't think -- and I don't think that's really on
  2      point with why we're here.
  3                        MR. BRODY:        I think I can wrap this
  4      line of questions up with two, just two simple
  5      questions.
  6                        THE COURT:        It's clear.     I don't
  7      think there's any secret here.              J&J wanted
  8      something, "X"; the plaintiff, including
  9      Mr. Birchfield, wanted "Y."            To the extent there's a
 10      difference of opinion, the Courts accept that.                 You
 11      know, but we really want to get back to where is
 12      Mr. Conlan, and then the issue before this Court.
 13                        MR. BRODY:        And I'm happy to --
 14      actually, I can wrap it up with a single question.
 15      BY MR. BRODY:
 16                  Q.    Just in terms of the common benefit
 17      fund, Mr. Birchfield, the difference in terms of
 18      amounts that would come into the common benefit fund
 19      via an $8.9 billion resolution -- if it's an $8.9
 20      billion resolution in the tort system and the money
 21      is going into the common benefit fund, 12 percent of
 22      that is more than a billion dollars, right?
 23                  A.    Are you asking me to do the math?                I
 24      mean, are you asking me if your math is correct?
 25                  Q.    Yes.

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  1                        THE COURT:       Do you need a calculator?
  2                        THE WITNESS:        Maybe so.    Are you
  3      saying 12.9 --
  4                        MR. POLLOCK:        Can we take judicial
  5      notice that whatever the math is --
  6                        THE COURT:       It's a lot of money.
  7      It's a lot of money.
  8      BY MR. BRODY:
  9                  Q.    And if you go to 19 billion, it's
 10      double-plus, right?
 11                  A.    That's typically not the way that
 12      common benefit funds work.           You -- typically, what
 13      courts have done over decades with common benefit is
 14      that the -- the larger, you know, the larger the
 15      recovery, depending on the lodestar and the amount
 16      of hours that are put in, you know, those numbers,
 17      the percentage would be reduced.
 18                        But if you're asking me if the math,
 19      if 12 percent of 8.9 is less than 12 percent of 19
 20      billion, the answer is yes.
 21                        THE COURT:       Now, let me just address.
 22      You know, obviously, if that focuses on the MDL and
 23      any award by the District Court judge, that is
 24      prognosticating.      There's been no determination.
 25      And I will have Judge Singh, if Judge Singh would

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  1      like to address that, go ahead.
  2                        JUDGE SINGH:        Just to be abundantly
  3      clear, to the extent there's any proffer of what
  4      would be recoverable under the common benefit order
  5      entered in the MDL, the Court is not making any
  6      preliminary findings as to what may or may not be
  7      awarded on the back end.
  8                        I do understand and appreciate some
  9      of these points were raised in the parties' briefing
 10      on the application, at least in federal court, as to
 11      the potential import of the common benefit order.
 12      The Court will consider those arguments or not
 13      consider it, as appropriate, based off of the
 14      ethical standard.
 15                        Notwithstanding, I also recognize
 16      there is the request in the federal court
 17      application for the [prima] relief as applicable to
 18      the plaintiffs' steering committee.            To the extent
 19      this may or may not be relevant to that alternative
 20      relief, it will be addressed by the Court.
 21                        MR. BRODY:       Thank you, Your Honor.
 22      BY MR. BRODY:
 23                  Q.    Mr. Birchfield, you know who the
 24      attorney Allen Smith is, right?
 25                  A.    I do.

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  1                  Q.    And you have a co-counsel
  2      relationship with the Allen Smith law firm, right?
  3                  A.    Yes.
  4                  Q.    As a general matter, speaking not
  5      limited to Allen Smith at this point, the majority
  6      of your talc claims are obtained or referred to you
  7      through co-counsel relationships, right?
  8                  A.    Yes.     I mean, the vast majority of,
  9      you know, the claims that -- where we represent
 10      claimants, we have co-counsel agreements.
 11                  Q.    Among them, Allen Smith has a
 12      litigation financing arrangement, correct?
 13                  A.    I understand that Allen Smith and
 14      probably a number of the co-counsel would have
 15      litigation funding agreements.
 16                  Q.    And at some point, I believe Fortress
 17      was financing some of the Allen Smith claims?
 18                        MR. POLLOCK:         Objection, Your Honor.
 19      Relevance as to what Allen Smith is doing regarding
 20      a litigation funding matter where the question is,
 21      Did Jim Conlan share confidential information with
 22      Beasley Allen.
 23                        So we're asking for hearsay as to the
 24      relationship regarding whatever this funding group
 25      is, what discussions they had.              We don't have the

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  1      term sheets and conditions here, and we are far
  2      afield on relevancy because there's been no proof
  3      that litigation funding is relevant to
  4      Mr. Birchfield's decisions.
  5                        So I would -- I object to this on
  6      relevance.
  7                        THE COURT:       Thank you.
  8                        Mr. Brody?
  9                        MR. BRODY:       It goes to the same
 10      point, Your Honor.       And these are just, you know,
 11      three preliminary questions, and I have about four
 12      more questions after that on this issue.              But it
 13      goes to -- it goes to the, you know, what is driving
 14      Mr. Birchfield and what drove Mr. Birchfield to --
 15                        THE COURT:       Allegedly.
 16                        MR. BRODY:       -- to take advantage of
 17      the --
 18                        THE COURT:       We've made no findings.
 19                        MR. BRODY:       Right.      But to, you know,
 20      join forces with Mr. Conlan over a period of over
 21      six months last year to engage in strategies that he
 22      knew and Mr. Conlan knew were adverse to what J&J
 23      preferred.
 24                        THE COURT:       I will sustain the
 25      objection with regard to the litigation from the

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  1      agreements.
  2                          MR. BRODY:      Fair enough.
  3                          THE COURT:      On relevance.
  4                          MR. BRODY:      Fair enough.
  5      BY MR. BRODY:
  6                  Q.      So, Mr. Birchfield, the -- your
  7      position is that -- first of all, you couldn't have
  8      hired Jim Conlan to be a lawyer at Beasley Allen to
  9      work on the talc cases, right?
 10                  A.      I never made -- I mean, never made
 11      any effort to hire him.          I mean, that's the whole
 12      point.       I mean, he came to us as an vendor.
 13                  Q.      But you -- you couldn't have done
 14      that, right?
 15                  A.      Wouldn't have -- would not have done
 16      that, because if we're going to hire him, we would
 17      have found out more about his involvement, the
 18      length of this work.        And at that point, we would
 19      not have hired him.
 20                  Q.      I'm -- I'm kind of struggling with
 21      your answer.       Are you telling me you think there
 22      might be a circumstance where it would be okay to
 23      hire somebody who had been outside counsel for your
 24      opponent to work on the same matter?
 25                  A.      Not without a waiver.

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  1                  Q.    Huh?
  2                  A.    Not without a -- no, I would not.
  3      What I was saying is, you know, that what has come
  4      out in this courtroom was much different than
  5      anything I ever knew, because Jim Conlan was working
  6      behind the scenes.       The only thing that I knew was
  7      what Jim Murdica had told me, and that was that he
  8      had worked with an FCR on a proposal that Jim
  9      Murdica and I were working together to try to get
 10      the Imerys TCC to sign off on.
 11                  Q.    And we've -- we've covered that.              I
 12      don't want to -- I don't want to go back to that.
 13      But you acknowledge, no matter what his role was, if
 14      he's outside counsel for J&J on the talc litigation,
 15      you can't hire him as a lawyer at Beasley Allen to
 16      work on the talc litigation, right?
 17                        MR. POLLOCK:         Objection; asked and
 18      answered.
 19                        THE WITNESS:         Agreed.
 20                        THE COURT:        I'll permit the question.
 21      But go ahead.
 22      BY MR. BRODY:
 23                  Q.    And you can't hire him as an expert
 24      witness, right?
 25                  A.    I would not hire him as an expert

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  1      witness, no.
  2                  Q.    Right.     But you couldn't.        The ethics
  3      rules would prohibit you from doing that, right?
  4                  A.    Right.
  5                  Q.    Right.     But just -- your position is
  6      that entering into a relationship with him as CEO of
  7      Legacy to design a resolution of the talc litigation
  8      was just fine, right?
  9                        MR. POLLOCK:        Objection.
 10                        THE WITNESS:        This proposal --
 11                        THE COURT:       Hold on.
 12                        MR. POLLOCK:        To design a resolution,
 13      because that -- we're going to see this in briefs, I
 14      promise you, for months to come.
 15                        THE COURT:       Suggests facts that are
 16      not in evidence.
 17                        MR. POLLOCK:        Exactly.
 18                        THE COURT:       Okay.
 19                        MR. POLLOCK:        He can answer the
 20      question.
 21                        THE COURT:       I think it's more of a
 22      hypothetical than a factual question.              Why don't you
 23      rephrase the question, Mr. Brody.
 24      BY MR. BRODY:
 25                  Q.    Sure.     Your position is that the work

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  1      you did with Mr. Conlan as CEO of Legacy is just
  2      fine, right?
  3                  A.         I didn't get any confidential
  4      information from Mr. Conlan.               What -- what would
  5      happen -- understanding the nature of this proposal
  6      makes that crystal clear, because if -- for this
  7      proposal to go anywhere, it has to be acceptable to
  8      J&J.    They can do it without my participation, and
  9      that was a big concern.
 10                             But if the proposal were accepted,
 11      then Legacy is standing in the shoes of J&J.                They
 12      are our adversary every -- every bit as much as J&J
 13      is now.          They have all of the talc liability.
 14      That's -- that's the nature of it.                So I went into
 15      -- into these discussions knowing that.
 16                             THE COURT:     Let me ask a question,
 17      Mr. Brody.
 18                             MR. BRODY:     Of course.
 19                             THE COURT:     Mr. Birchfield, you said
 20      you didn't get any confidential information from
 21      Conlan regarding J&J.           That's your testimony, right?
 22                             THE WITNESS:      Yes, sir.
 23                             THE COURT:     So to the extent that you
 24      know you didn't get any confidential information, so
 25      Mr. Conlan didn't say, "Hey, by the way,

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  1      Mr. Birchfield, I have this information regarding
  2      J&J," he never came to you in that with regard,
  3      right?
  4                        THE WITNESS:        Right.
  5                        THE COURT:       But he -- he could have
  6      told you information that he got from J&J?               I mean,
  7      you're not discounting that; am I right?              You
  8      wouldn't know that?
  9                        THE WITNESS:        I wouldn't know.
 10                        THE COURT:       You wouldn't know, if he
 11      came to you and said, "Mr. Birchfield," and I'm --
 12                        THE WITNESS:        Yes.
 13                        THE COURT:       -- referring to you as
 14      "Mr. Birchfield" -- "Mr. Birchfield, if you do X, Y
 15      and Z, why don't you consider that and convey that
 16      to the plaintiffs' committee."
 17                        To the extent he got that information
 18      from J&J, but didn't tell you that, you wouldn't
 19      know that, right?       I'm not trying to set you up.
 20                        THE WITNESS:        Right.
 21                        THE COURT:       Unless he said, "Hey,
 22      Mr. Birchfield, this is what J&J is doing.               Here's
 23      what they're thinking.        I worked there for 22
 24      months.     This is the information I got, X, Y and Z."
 25                        He could have just came to you and

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  1      said, "Mr. Birchfield, why don't you propose X, Y
  2      and Z to your clients and the plaintiffs'
  3      committee."
  4                        THE WITNESS:        He did not.      He did
  5      not.    He did not do that.        The discussion, all the
  6      discussions, you know, with Mr. Conlan were, and the
  7      other Legacy people, were focused on the -- this
  8      proposal of structural optimization and
  9      disaffiliation.
 10                        And so, you know, we didn't -- in
 11      that proposal, we didn't need -- we didn't need any
 12      information from them, except as to how structural
 13      optimization and disaffiliation would work.               And,
 14      frankly, you know, our big concern was, What are --
 15      what are the traps?       Are there minefields here that
 16      we must -- that we must avoid?
 17                        Legacy --
 18                        THE COURT:       And money drove -- money
 19      drives any settlement, right?            So you had 8.9
 20      billion, you got 19 billion.            And so to the extent
 21      any plan would work, it's fund -- it's fund-driven.
 22                        THE WITNESS:        It is fund-driven.
 23      Absolutely.     You know, the focus, you know, from our
 24      perspective was what -- what would give our clients
 25      reasonable compensation, period.               So if we -- if we

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  1      put together a structure, if we put together a
  2      structure and a settlement fund that would provide
  3      our clients with reasonable compensation, the common
  4      benefit will take care of itself.              Other issues will
  5      take care of itself.
  6                        That was the goal.           That was the
  7      driver, to, you know, to get a resolution plan that
  8      would be acceptable to J&J.           And that's where the
  9      finality came in.
 10                        THE COURT:       Thank you,
 11      Mr. Birchfield.
 12                        Judge Singh?
 13                        JUDGE SINGH:        Nothing.     Thank you.
 14                        THE COURT:       Thank you.
 15                        I didn't mean to sidetrack, but I
 16      wanted to follow up with regard to that question.
 17                        MR. BRODY:       It's quite all right.
 18      BY MR. BRODY:
 19                  Q.    Mr. Birchfield, you would agree with
 20      me that --
 21                        THE COURT:       Hold on.      Mr. Placitella
 22      has something from --
 23                        MR. PLACITELLA:          Your Honor, someone
 24      just sent me a note that they could hear Mr. Haas'
 25      questions or information being provided to Mr. Brody

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  1      over the --
  2                         JUDGE SINGH:       The mic.
  3                         MR. HAAS:     Your Honor, I --
  4                         MR. PLACITELLA:         So I just want to
  5      let everybody know.
  6                         MR. HAAS:     Thank you.
  7                         THE COURT:      Thank you,
  8      Mr. Placitella.
  9                         MR. HAAS:     Thank you, Chris.
 10                         Your Honor --
 11                         THE COURT:      And that is probably the
 12      case with regard to that transponder that's in front
 13      of you, Mr. Haas.
 14                         MR. HAAS:     Thank you very much, Your
 15      Honor.      But I am completely confident that anything
 16      I said to my counsel I have no problem sharing up to
 17      this point in this courtroom.            So it's okay.
 18                         THE COURT:      So keep that in mind.
 19      You also have with your microphones, there's a mute
 20      button so that we can't hear.            And you can also, I'm
 21      going to tell you, Mr. Pollock, Mr. Brody, that the
 22      green light, if you touch it, it becomes a red
 23      light.
 24                         So thank you, sir.
 25                         MR. PLACITELLA:         So pardon me.

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  1                        THE COURT:       That's quite all right.
  2      I think that's important to know, and everybody
  3      needs to know.
  4                        MR. BRODY:       I definitely didn't know.
  5      Thank you.
  6      BY MR. BRODY:
  7                  Q.    It would certainly help, if you were
  8      trying to come up with a number that J&J would agree
  9      to, to have somebody who had been on the inside,
 10      wouldn't it?
 11                        MR. POLLOCK:        Objection; speculative,
 12      hypothetical.
 13                        THE COURT:       No, I disagree.
 14      Objection overruled.        To the extent that
 15      Mr. Birchfield understands the question and can not
 16      speculate.
 17                        THE WITNESS:        Not at -- not at that
 18      point in time.      I mean, at that point in time, by
 19      the time I first ever met Jim Conlan, we had been --
 20      we had been negotiating, started negotiations,
 21      started negotiations with Mr. Murdica in April of
 22      2020.
 23      BY MR. BRODY:
 24                  Q.    Okay.
 25                  A.    And I had been focused on mediate --

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  1                  Q.      I -- I'm sorry, Mr. Birchfield.           My
  2      question -- my question was just if you wanted to
  3      come up with a number that J&J would agree to, it
  4      would help to have somebody who had been on the
  5      inside, wouldn't it?
  6                          MR. POLLOCK:      Your Honors, I
  7      understand Mr. Brody wants a yes or no.
  8      Mr. Birchfield is explaining that he already knows
  9      all this stuff, anyway.          If he's going to ask that
 10      question, I respectfully beg you, let my client
 11      answer the question.        Because Mr. Brody can't just
 12      do it the way he wants to do it, because he wants a
 13      short and fast, snappy answer.             The truth -- we're
 14      here to get the truth.        I respectfully beg that
 15      Mr. Birchfield be able to give his response.
 16                          THE COURT:     Thank you.
 17                          If you were responding to that
 18      question, but with regard to -- more directly,
 19      though, Mr. Birchfield.
 20                          THE WITNESS:      At that point in time,
 21      we had a very good idea of what J&J would willingly
 22      pay under those circumstances.             They put it on the
 23      table.       They had -- they had done that through the
 24      -- through the $8.9 billion, you know, proposal that
 25      they had rolled out.        We had -- that was after a

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  1      year-long, a year-long mediation.
  2                             So, no.     What we were looking for was
  3      a way, because the whole -- the whole idea was that
  4      J&J needed finality.             They needed finality.     You saw
  5      the bankruptcy plan.             The bankruptcy plan would not
  6      pay, would not pay reasonable compensation to our
  7      clients.          And so we were looking for a way to give
  8      J&J the finality so we could get it.
  9      BY MR. BRODY:
 10                  Q.         So I take it that's a no, you
 11      disagree, it wouldn't be helpful to have somebody
 12      who had been on the inside if you wanted to come up
 13      with a number that J&J would agree to, and so you
 14      just tossed 19 billion out there when you knew that
 15      J&J proposed 8.9?
 16                  A.         I did not toss out the 19 billion.
 17      The $19 billion number is Jim Conlan and Legacy's
 18      number.          And that is a -- that's what he testified
 19      to.    He testified as to how he got to that number.
 20      And that would be for all talc liability for all
 21      time, taking on all of J&J's talc liability.
 22                             That was not the number -- that's not
 23      a number for the ovarian cancer claims.              The ovarian
 24      cancer claims were a piece of that overall proposal,
 25      but only a piece.

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  1                  Q.         And you don't know whether that
  2      number is based on confidential discussions he had
  3      with J&J, do you?
  4                  A.         He testified that it is not, and --
  5                  Q.         Well, he testified to a lot of
  6      things.          You don't know, do you?
  7                  A.         If you're suggesting that J&J had
  8      told them internally that that's the number that --
  9      I would find that surprising.               But I don't have any
 10      way of knowing.
 11                  Q.         All right.     Fair enough.    Let's wrap
 12      this up.
 13                             You know that on Wednesday morning,
 14      J&J announced a proposed plan of reorganization by
 15      LLT Management LLC for the comprehensive and final
 16      resolution of all claims and future claims related
 17      to ovarian cancer arising from cosmetic talc
 18      litigation against it and its affiliates in the
 19      United States, right?
 20                  A.         Yes.
 21                  Q.         And you know that the announced plan
 22      provides for a three-month solicitation period
 23      during which ovarian claimants are informed of its
 24      terms and will have the opportunity to vote for or
 25      against the plan, right?

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  1                  A.    I understand that that's a provision
  2      of the proposal.
  3                  Q.    And that was announced on Wednesday
  4      morning, right?
  5                  A.    Yes.
  6                  Q.    By 8:26 a.m. on Wednesday morning,
  7      the same day, you had issued a press release stating
  8      your opposition to it, right?
  9                  A.    Yes.
 10                  Q.    And on -- you will probably remember
 11      this, but I'm quoting what was attributed to you in
 12      that press release.        "We believe any bankruptcy
 13      based on this solicitation and vote will be found
 14      fraudulent and filed in bad faith under the
 15      Bankruptcy Code.      On behalf of our clients who
 16      deserve better, we are blowing the whistle on this
 17      cynical legal tactic and will resist it at every
 18      turn."
 19                        That was your statement, right?
 20                  A.    Yes.
 21                  Q.    And Ms. O'Dell also made a statement
 22      in opposition, correct?
 23                  A.    Yes.
 24                  Q.    And she was quoted as saying, "The
 25      company is afraid of a legitimate vote among those

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  1      who are truly sick and the families of the deceased
  2      who have been battling J&J's obstruction and bad
  3      faith for years and who are supported by numerous
  4      scientific studies showing that talc contains
  5      asbestos and other known cancer-causing
  6      ingredients."
  7                        That's what Ms. O'Dell stated, right?
  8                  A.    Yes.
  9                  Q.    So you are both out in the media
 10      resisting J&J's latest plan to resolve its talc
 11      liabilities, right?
 12                  A.    Yes.
 13                  Q.    You even sent an open letter to the
 14      legal community on the same day, right?
 15                  A.    That's right.
 16                  Q.    And you did that under the Mass Torts
 17      Made Perfect organization logo, didn't you?
 18                  A.    It was a joint letter with Mike
 19      Papantonio.
 20                  Q.    And you don't just want to, as you
 21      stated there, you don't merely want to challenge
 22      J&J's proposed resolution as filed in bad faith,
 23      although, frankly, nothing has been filed, as you
 24      indicated, but you also want to try to galvanize
 25      claimant opposition to J&J's plan, right?

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  1                  A.       Yes.
  2                  Q.       And you're urging people to be united
  3      in opposition to the J&J plan, right?
  4                  A.       Yes.
  5                  Q.       So, I mean, really, nothing has
  6      changed since last summer when you were opposing the
  7      J&J LTL 2 plan; you're still opposing the way in
  8      which J&J wants to resolve these claims, right?
  9                           MR. POLLOCK:         Objection, Your Honor.
 10      Again, relevance.           What does the challenge to a plan
 11      today have to do with a question of disclosure a
 12      year ago?        I don't see any connection.
 13                           MR. BRODY:        Your Honor, he answered
 14      the question "yes," and that was my last question.
 15                           MR. POLLOCK:         Your Honor, I still
 16      object to it.        I, frankly, I don't know what --
 17      Mr. Brody said he would be done in half an hour.
 18      Now it's now two hours.             At this rate, we'll be here
 19      all day.
 20                           THE COURT:        I'm sustaining the
 21      objection.
 22                           MR. BRODY:        That's fine.   I have
 23      nothing further.
 24                           THE COURT:        Thank you.
 25                           Judge Singh, do you want to take a

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  1      break?
  2                         JUDGE SINGH:       Yeah, we can take a
  3      break.
  4                         THE COURT:      Okay.       May we take 10
  5      minutes, everyone?
  6                         MR. POLLOCK:       That's fine, Your
  7      Honor.      What time would you like to reconvene?
  8                         THE COURT:      25 after 11.       I'm using
  9      that clock.      I know we all haven't synchronized, but
 10      we'll take 10 minutes.
 11                         (A recess was taken.)
 12                         THE COURT:      Thank you.       Please be
 13      seated.
 14                         Mr. Birchfield, come on back.           You're
 15      still under oath, sir.
 16                         THE WITNESS:       Yes, sir.
 17                         THE COURT:      And Mr. Pollock, you have
 18      some questions?
 19                         MR. POLLOCK:       I do, Your Honor --
 20      Honors.      I apologize.
 21                         THE COURT:      We're going to wait for
 22      Mr. Brody.      Okay.
 23                         MR. POLLOCK:       It would be so much
 24      faster without him.
 25                         MR. BRODY:      Apologies.

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  1                        THE COURT:         It's quite all right.
  2                        Just for the record, you were pretty
  3      close to our time.       But go ahead, Mr. Pollock.
  4                        MR. POLLOCK:            Yes, Your Honor.
  5                                  -    -    -
  6                          REDIRECT EXAMINATION
  7                                  -    -    -
  8      BY MR. POLLOCK:
  9                  Q.    Mr. Birchfield, what I would like to
 10      do is start with the --
 11                        MR. POLLOCK:            And Your Honors, this
 12      goes to the question as to whether Mr. Conlan had
 13      significantly -- had significantly harmful
 14      information.     Yuna.     So that's what I'm focused on
 15      here.
 16      BY MR. POLLOCK:
 17                  Q.    Mr. Birchfield, can you please walk
 18      me through what Beasley Allen first -- when did it
 19      first become involved in talc litigation against
 20      J&J?
 21                  A.    It began in 2013.             In 2013, you know,
 22      is when we -- when we opened our first case and
 23      began investigating the talc issues against J&J.
 24                  Q.    And do you know what that first case
 25      was, by chance?

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  1                  A.      I don't.
  2                  Q.      And do you know when they had their
  3      first verdict?
  4                  A.      Okay.     So the first trial was in
  5      2016.       In February of 2016, we had the Fox trial.
  6      That was a $72 million verdict.
  7                  Q.      And is there another one called
  8      Ristesund, R-I-S-T-E-S-U-N-D?               Have you heard of
  9      that one?
 10                  A.      Ristesund, yes.
 11                  Q.      And when was that one, sir?
 12                  A.      So it was in 2016, as well.          So we
 13      had, in 2016, we had three, three verdicts; the $72
 14      million verdict, a, I believe, a $55 million
 15      verdict, and a $70 million verdict in -- in 2016.
 16                  Q.      And in 2000 -- was Leigh O'Dell ever
 17      appointed as co-lead of the MDL?
 18                  A.      Yes.
 19                  Q.      When did that occur?
 20                  A.      That would have been in 2016, as
 21      well.       I believe it would be December of 2016.
 22                          MR. POLLOCK:         I'm going to skip a few
 23      just for brevity, Your Honors.
 24                  Q.      Slemp, there's a matter called Slemp.
 25      Have you heard of that one?

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  1                  A.        Yes.
  2                  Q.        What was Slemp?
  3                  A.        Slemp was an ovarian cancer trial.                 I
  4      believe that was a $110 million verdict.
  5                  Q.        And do you know approximately what
  6      year that was?
  7                  A.        I believe that was 2017.              Three in --
  8      in 20 -- in 2016, we had three verdicts, three
  9      favorable plaintiffs' verdicts.                     And then in the
 10      beginning of 2017, we had a Daniels case that was a
 11      defense verdict.         And then we had the Slemp -- Slemp
 12      trial, ovarian cancer trial.                 I believe that was a
 13      $110 million verdict.             And then those cases were --
 14      those cases, the verdicts were vacated based on the
 15      Bristol-Myers-Squibb case out the Supreme Court.
 16      The verdicts were vacated on personal jurisdiction,
 17      but those cases are -- those cases still ready to be
 18      retried.
 19                            I'm sorry.
 20                  Q.        Were there any Daubert challenges,
 21      Iqbal, Twombly, Kuhmo Tire challenges as to expert
 22      qualifications during the course of these trials?
 23                  A.        Yes.     I mean, every -- I mean, every
 24      trial, you know, you would have -- maybe not
 25      Daubert.         I mean, you had -- I mean, in -- in --

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  1      preceding these trials, you know, the courts would
  2      weigh under the local state standard.             So, in New
  3      Jersey, it would be Kemp.          In California, which
  4      was --
  5                        THE COURT:       Accutane now.
  6                        THE WITNESS:        Accutane now?      Okay.
  7      All right.
  8                        THE COURT:       Just for our record, Kemp
  9      Accutane Daubert.
 10                        MR. POLLOCK:        Thank you, Your Honor.
 11                        THE WITNESS:        There is Sargon.       You
 12      know, there was a -- in 2017, after the Slemp case,
 13      we have tried the Echeverria case in California.
 14      There was a Sargon hearing, you know, there.
 15      BY MR. POLLOCK:
 16                  Q.    What's a Sargon hearing?           I missed
 17      that one.
 18                  A.    It's the -- it's the equivalent of
 19      the Accutane here, but in California.             The state
 20      court equivalent of a Daubert, you know, proceeding.
 21                  Q.    And can you describe for the Court
 22      the team, the Beasley Allen team that works on --
 23      what's your role within the talc stuff that you do?
 24      What's your title?
 25                  A.    I'm the section head for the mass

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  1      tort section.     Our firm is divided into -- into
  2      sections, and I head up our mass tort section.                And
  3      so we have a, you know, a pretty -- pretty large
  4      team, 30 something lawyers, you know, in the mass
  5      tort section, and a, you know, a staff, a large
  6      staff.
  7                        And so I'm -- I manage, I supervise,
  8      and -- and, you know, since 2020, I have been
  9      hands-on in the, you know, in the talc.              Before
 10      that, I didn't -- I was not the one that tried any
 11      of those cases, so -- and so Ted Meadows, you know,
 12      tried, and Jerry Beasley, our senior partner, tried
 13      the first Fox case in 2016.
 14                        But, I mean, I would be -- I was
 15      involved and learning the case, learning the
 16      details, I mean, and supervising, but I was -- I had
 17      other things prior to April of 2020.
 18                        And at that point, at that point, I
 19      had my first meeting, you know, with Mr. Murdica,
 20      who testified here.       And at that point, you know, we
 21      began, you know, pursuing resolution.             So we had a
 22      number of -- a number of trials we had gone through.
 23                        I'm sorry, I'll stop.          But we had
 24      gone through a number of trials up to that point.
 25      My role prior to April 2020 was more of a

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  1      supervisory, you know, role within the section.
  2                  Q.      Is there -- did there come a point in
  3      time when you weren't just representing clients for
  4      Beasley Allen, but you also had a leadership role
  5      among the torts bar at large?
  6                  A.      Yes.     That would have been -- well, I
  7      mean, officially, it would have been in the MDL.                  So
  8      the -- before, before 2016, there was no -- there
  9      was no MDL formed.         Once the MDL was formed, Judge
 10      Wolfson appointed Leigh O'Dell, my law partner, as
 11      co-lead, along with Michelle Parfitt from Ashcraft
 12      Gerel.       She appointed the, you know, the committee.
 13                          And so Leigh and Michelle, Ms. O'Dell
 14      and Ms. Parfitt, served as co-lead counsel.               And so
 15      we had a leadership role nationally in that regard.
 16                          There's coordinated litigation here
 17      in New Jersey, and, you know, Ted Meadows and
 18      Mr. Placitella and Mr. Golomb, you know, were
 19      instrumental there.          I don't think there's an
 20      official order, just -- just that role.
 21                  Q.      And do you, do you, as chair of the
 22      department, do you view your role as of the time --
 23      I think you mentioned 2016 -- that your role
 24      vis-a-vis the other plaintiffs' law firms, that you
 25      owe their clients a duty of loyalty, too; that

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  1      you're there to protect their joint interests?
  2                  A.     Yes.     I mean, our view, our view --
  3      and when I say "our view," it's shared by
  4      Ms. O'Dell, and it's our -- our firm approach.                And
  5      there is -- there are differences in how, you know,
  6      how firms would approach the leadership roles in
  7      MDLs.
  8                         But, I mean, my first -- my first MDL
  9      leadership role was in Vioxx before Judge Eldon
 10      Fallon and, you know, in that -- it was -- it was
 11      instilled then.      You know, you've got a duty to all
 12      the plaintiffs.      There are -- there are -- there are
 13      a number of times when leadership have resolved
 14      their own cases, and that could be -- you know, we
 15      would never abandon our role as leadership.               We have
 16      a fiduciary duty, in my view, to all of the, you
 17      know, all of the plaintiffs that are pending in the
 18      MDL, the lawyers and the plaintiffs.
 19                  Q.     I would like to address to the Court
 20      what you learned, and I'm going to skip all the way
 21      up to 2021.      I'm going to go right to this point
 22      right here, when Mr. Conlan joins Faegre.              So let's
 23      call it sometime in 2020.            I would like you to
 24      briefly describe what you learned.
 25                         MR. POLLOCK:         And the premise, Your

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  1      Honors, for my question is, What did Mr. Conlan know
  2      that he didn't already know?            That's really what I'm
  3      getting to.      All right?
  4                  Q.    So, Andy, if you could walk through,
  5      what did you learn from 2013 to 2020 regarding the
  6      natures of the claims, the types of claims, value of
  7      the claims, matrices?        Just go for it.
  8                        THE COURT:       I think Mr. Brody wants
  9      to address the Court, Mr. Pollock.
 10                        MR. BRODY:       Well, first, I'm going to
 11      object to the question as calling for a narrative.
 12      You know, it's -- you know, what did you learn about
 13      six, seven, eight, nine things.                I think the
 14      question should be more focused.
 15                        You know, generally, I'm all in favor
 16      of counsel framing things for the Court when they're
 17      going to go into a certain area and ask questions,
 18      but I think what we're hearing from Mr. Pollock is
 19      argument, and I think that it's improper to offer
 20      argument during the examination of Mr. Birchfield.
 21                        So I would object to the continued
 22      framing arguments.
 23                        THE COURT:       Could you rephrase the
 24      question --
 25                        MR. POLLOCK:        Of course.

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  1                             THE COURT:     -- Mr. Pollock with
  2      regard to what you're exactly -- the testimony you
  3      want to elicit from Mr. Birchfield.
  4                             MR. POLLOCK:      Absolutely.
  5      BY MR. POLLOCK:
  6                  Q.         Mr. Birchfield, the challenge here
  7      today is that you obtained information that was
  8      confidential to J&J and that you got it from
  9      Mr. Conlan.          That is the allegation that's been
 10      brought against you.
 11                             I would like to know, what did you
 12      know before, regarding these claims, what did you
 13      know before you met Jim Conlan?
 14                  A.         Before I ever met Jim Conlan, we had
 15      extensive, extensive knowledge and understanding
 16      about the nature of these claims, as well as the --
 17      as well as what J -- how J&J would evaluate these,
 18      you know, these claims.
 19                             And we gained that because there is
 20      -- there, in my view, you know, there -- you learn
 21      to strengthen the weaknesses of the cases through
 22      trials.          And so we had tried multiple, multiple
 23      trials before -- before we ever -- before I ever
 24      met, you know, Jim Conlan.
 25                             Before I ever met, you know, Legacy,

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  1      Jim Conlan, or anyone at Legacy, we had gone through
  2      multiple Daubert-like, you know, hearings.               We had
  3      gone through the MDL in front of Judge Wolfson.                   So,
  4      I mean, that was extensive briefing and expert
  5      reports and live testimony.           And we had the, you
  6      know, we had the Daubert decision, you know, from
  7      Judge Wolfson.
  8                        We had gone through, you know, a
  9      similar type proceeding in front of Judge Nelson
 10      Johnson, both here and up on appeal to the -- to the
 11      Appellate Court.
 12                        And then, beyond that, we, you know,
 13      we had -- I had extensive negotiations, you know, on
 14      behalf of, you know, ovarian cancer claimants with,
 15      you know, with Jim Murdica.           And so I had, I believe
 16      -- I believe the first matrix, you know, that I
 17      provided, you know, to -- to J&J through Jim
 18      Murdica, I believe that was as early as May of 2020.
 19                        And so we had -- we had been
 20      evaluating, you know, how, how can -- how can we put
 21      together a structure for global resolution.               We had
 22      been working on that for a long time, a long time
 23      before I ever met, you know, anyone -- Jim Conlan or
 24      anyone from, you know, from Legacy.
 25                        You know, we -- we negotiated.             We

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  1      negotiated, you know, toward a, you know, private
  2      global -- when I say "private," I mean through the,
  3      you know, through a global deal for all claimants,
  4      but not part of any bankruptcy.                We did that.
  5                        And then there was a proposal that
  6      was a bolt-on to the -- to the Imerys bankruptcy.
  7      And so we had negotiated that.
  8                        All of that, all of that requires,
  9      you know, an in-depth understanding of the nature of
 10      the claims.     What are, you know, what are truly
 11      compensable claims, what are the claims that are
 12      supported by the -- by the science and the medicine,
 13      and what's not.
 14                        It also requires an understanding of
 15      how many claims.      What is the -- what's the total,
 16      you know, universe of claims.            You know, you need to
 17      know that, unless it's just purely a, you know, a
 18      pay-as-you-go type proposal.            You need to know what
 19      are the number of claims.
 20                        And so we had -- we had worked very
 21      closely with, you know, firms across the country to,
 22      you know, to assess that, to get a handle on what
 23      the total number of claims, you know, were.                   All of
 24      that was done, all of that was done before -- before
 25      J&J filed its first bankruptcy.

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  1                        Then, when J&J filed its first
  2      bankruptcy in October of 2021, at first -- at first,
  3      I, on behalf of, you know, our ovarian cancer team,
  4      I was pushing -- I was pushing for resolution in --
  5      in that bankruptcy, in that bankruptcy context.                     And
  6      now I look back and -- and I see that that was, you
  7      know, that that was a mistake.
  8                        We had, at that point, you know,
  9      there was meso -- there were mesothelioma lawyers
 10      that were representing clients on the TCC, and they
 11      were saying, No, you -- you can't, you can't.                     We've
 12      had experience with bankruptcy.                We've had
 13      experience with the Texas Two-Step.                It -- it will
 14      not work.    They will -- you cannot get reasonable
 15      resolution in the bankruptcy context.
 16                        I resisted that and I was pushing for
 17      resolution in the bankruptcy context at the
 18      beginning of LTL 1.
 19                        But then after we got -- so, through
 20      that process, you know, in the -- the LTL 1, you
 21      know, was filed in North Carolina.                It was
 22      transferred to Judge Kaplan here in New Jersey.
 23      Judge Kaplan, you know, urged mediation.                   That
 24      didn't -- that didn't happen, I mean, not officially
 25      before the motion to dismiss hearing.                But we -- but

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  1      we did engage.       We were trying to reach a
  2      resolution.
  3                          Once Judge Kaplan denied the motion
  4      to dismiss, when he denied that motion to dismiss,
  5      he ordered mediation, and he ordered -- he ordered
  6      Judge Joel Schneider and Gary Russo to serve as
  7      mediators.       And so --
  8                          THE COURT:     And I think that's, you
  9      know -- I'm sorry, Mr. Birchfield.             I think that
 10      gets us to where we were --
 11                          THE WITNESS:      Sure.
 12                          THE COURT:     -- to the crux of your
 13      question; what did he know at that time frame.
 14                          MR. POLLOCK:      Correct.    I think
 15      you're -- I think you're right, Your Honor.
 16      BY MR. POLLOCK:
 17                  Q.      Imerys.   I know that everyone else
 18      probably knows more than I do.             What was the Imerys
 19      bankruptcy?
 20                  A.      Imerys -- Imerys is a mining company.
 21      They were a supplier to J&J.            So Imerys and Cyprus
 22      were suppliers.       They both filed bankruptcies.           The
 23      Imerys bankruptcy was filed in, I think, February of
 24      2019.       And, you know, and Beasley Allen, Leigh
 25      O'Dell, you know, Ted Meadows,             we served -- we

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  1      represented a member of that Imerys tort claimants
  2      committee, as well.         There's a Cyprus -- Cyprus
  3      filed bankruptcy, as well, but that was primarily
  4      for mesothelioma.         We didn't -- we did not have a
  5      client on that committee.
  6                  Q.     During the course of the Imerys
  7      bankruptcy, did you have discussions with J&J
  8      regarding potential resolution of the talc claims?
  9                  A.     We did.
 10                  Q.     And over what time period did you
 11      have those discussions?
 12                  A.     I believe that would have been in --
 13      it would have been the fall of 2020 and up through
 14      the spring of 2021, roughly.
 15                  Q.     And the -- were there -- was there a
 16      settlement matrix that you ever shared with anyone
 17      at that point in time?
 18                  A.     Yes.     I mean, there was a settlement
 19      matrix that was, you know, that was developed and --
 20      as part of that process, as well.
 21                  Q.     And when you say the settlement
 22      matrix was developed, is this something that you
 23      worked on with the talc claimants committee?
 24                  A.     Yeah, I mean, it is something that we
 25      -- that was, you know, presented, you know, to the,

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  1      you know, to the tort claimants committee.               I'm just
  2      -- I'm just hesitant here because there are very,
  3      very strict rules about what's -- what goes on
  4      within the, you know, tort claimants committees in
  5      these bankruptcies.
  6                  Q.     Fair enough.        On the -- I lost my
  7      train of thought.       Sorry.      During the course of time
  8      you were working on Imerys, did you gain insight as
  9      to what you believed were the settlement values that
 10      were -- that J&J was looking for?               Do you know
 11      anything about their settlement position?
 12                  A.     Well, yes.       I mean, through the --
 13      through the course of, you know, through the course
 14      of negotiations, you know, we were given, you know,
 15      pretty, you know, clear picture of at least what
 16      they were, you know, they were saying that they
 17      would be willing to pay at that point.
 18                  Q.     And if I were to pick the time, I
 19      have on the calendar up here, the clock up here,
 20      2019 roughly is when Imerys starts, and they have
 21      2024 as Imerys ongoing.          I don't know if that's
 22      accurate.
 23                         Were the number of claims, as you
 24      understood them, changing, the number of claimants
 25      and the number of types of claims changing between

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  1      2019 and 2023 in Imerys?
  2                  A.     I'm having a little -- a little
  3      difficulty, you know, teasing out, you know,
  4      Imerys --
  5                  Q.     Sure.
  6                  A.     -- because, you know, because I can't
  7      really speak to Imerys on --
  8                  Q.     Let me try to -- try it over again,
  9      and ask a different question because I probably
 10      screwed it up.
 11                         I apologize, Judges.         I'm not a talc
 12      guy.    I just -- I live a decent life.            I have not
 13      done this talc claim, so I apologize if I botched
 14      it.
 15                         Let me make the question broader.              If
 16      I look at the number of talc claims regarding J&J
 17      just generally between 2019 and 2022-23, do you
 18      believe there was a change in the number and value
 19      of those claims?
 20                  A.     There was a -- there was a
 21      significant, you know, change in the, you know, in
 22      the number, in the total number of claims.               I mean,
 23      that -- that is true.         And, I mean, there are -- you
 24      know, there were factors that, you know, any lawyer
 25      would weigh in, you know, impacting, you know, the

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  1      value or a reasonable settlement value, you know, of
  2      those claims.      Those factors would -- would change,
  3      you know, over, you know, over time, as well.
  4                         But, I mean, over the course of, you
  5      know, over the course of this litigation, over the
  6      last, you know, the ten years, there have been,
  7      there have been, you know, milestones that have
  8      impacted the, you know, the total number of -- the
  9      total number of claims.
 10                  Q.     So if we could go to something that
 11      I'm dying to get into because I love numbers.                   We're
 12      going to go to Exhibit 7, sir.               This is one that
 13      Mr. Brody was asking you about.                  Let me know when
 14      you're there.
 15                  A.     I'm there.
 16                  Q.     And Exhibit 7 has a proposal from
 17      James Conlan, Doug Dachille, and John Gasparovic,
 18      and I'm looking at Plaintiff's -- Plenary Hearing
 19      66.
 20                  A.     Okay.
 21                  Q.     And that has a matrix then at the
 22      end, at 67.
 23                  A.     Yes.
 24                  Q.     So I want to focus, first of all, on
 25      the letter.

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  1                         Am I correct in understanding that
  2      you had not seen this document nor a draft of it
  3      until you -- this litigation began?
  4                  A.     That's right.         I mean, the first time
  5      I saw this letter was when this motion was filed.
  6                  Q.     And if we go back to the email that
  7      Mr. Brody was asking you about, which is Exhibit 4,
  8      am I -- is it fair to -- am I correct in
  9      understanding that you did not get a cc on this
 10      document, either?
 11                  A.     I did not.
 12                  Q.     Now, if we -- if we go to -- and I'm
 13      worried about timing here, but we'll get into it.
 14      On Exhibit 6, which is Plenary Exhibit -- it's the
 15      Exhibit 7, it's the last page of the document.                It's
 16      the matrix there.
 17                         Could you walk us through -- first of
 18      all who created this matrix?
 19                  A.     I did, in -- in conjunction with the
 20      leadership committee on the talc claims.
 21                  Q.     So there's been a lot of questions,
 22      comment about the matrix.           There's been oral
 23      argument about the matrix.            Since you're the author
 24      of it, you might be the one to say.
 25                         What -- can you explain this Court to

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  1      the matrix [sic], what is this telling -- what is
  2      this telling the receiver?               What is it -- what are
  3      you trying to describe?
  4                  A.        And so this, this -- the way that
  5      this would work is that if a -- and this is -- this
  6      is not, you know, uncommon.               We've developed, you
  7      know, similar type, you know, matrices in other --
  8      other litigations, you know.                We developed a similar
  9      one in Vioxx in the early, you know, mid 2000s.
 10                            But the way that this would work is a
 11      client -- claimant, client, would -- would be able
 12      to identify, okay, when was I diagnosed, how old was
 13      I when I was diagnosed.             And so -- and then what was
 14      the, you know, what was the injury, what stage.                  Was
 15      I diagnosed with stage 4.              You know, if I was
 16      diagnosed with stage 4 when I'm 55 years old, then
 17      you would -- you would see, you know, that that is
 18      -- that would -- the allocation there would be
 19      500,000.         531,995.   That -- that's how it would
 20      work.
 21                            And then, you know, there would be --
 22      a term sheet would provide, you know, qualification
 23      criteria, you know, and -- and that's a -- that's a
 24      key component, and that's -- that is a -- that's a
 25      primary, a significant reason, you know, for our

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  1      opposition, and especially our opposition to this,
  2      you know, this last proposal.
  3                             What we would base our, you know, any
  4      -- any settlement on would be the, you know, the
  5      claims that are -- the claims that are supported by
  6      the medicine and the science for the ovarian cancer,
  7      you know, claimants.             The type of cancer, the
  8      subtypes that are supported by the science.                You're
  9      talking about, you know, the epithelial ovarian
 10      cancer.          It can be the fallopian tube or peritoneal
 11      cancers.          All the same.
 12                             But if you meet that criteria, you
 13      have the appropriate, you know, subtype, then you
 14      would be qualified here.               And so you -- that's how
 15      the matrix would work.
 16                  Q.         So when I was talking to Mr. Conlan,
 17      I think I talked about peanut butter and chocolate,
 18      Reese's cups, because it was almost lunch.               The --
 19      part of the deal in Exhibit 7 is a Jim Conlan thing,
 20      and the attachment is an Andy Birchfield thing.
 21                             Is that -- do you believe that's a
 22      fair statement?
 23                  A.         Yes.     I mean, the matrix -- the
 24      matrix is -- is -- that's -- that's definitely us.
 25      You know, I mean me on behalf of the -- of the team,

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  1      the ovarian cancer team.
  2                  Q.     Did you ever haggle --
  3                         THE COURT:       Let me ask a question,
  4      Mr. Pollock, I apologize.
  5                         MR. POLLOCK:        Yes, of course.
  6                         THE COURT:       So the total funding of
  7      this matrix is $19 billion?
  8                         THE WITNESS:        No, sir.
  9                         THE COURT:       What's the total funding
 10      of the matrix, if you know?
 11                         THE WITNESS:        Looking at -- well, so,
 12      in order to determine that, I mean, I can tell you
 13      -- I can tell you what --
 14                         THE COURT:       But it's more than $19
 15      million.
 16                         THE WITNESS:        No, sir.
 17                         THE COURT:       $19 billion.
 18                         THE WITNESS:        No, sir.    It would be
 19      -- it would be less than the 19 billion.
 20                         So, the 19 billion that -- that Mr.
 21      -- the Legacy proposal includes, that -- that is a
 22      proposal for Legacy to acquire an entity with all of
 23      J&J's talc liability for all of time.              So that would
 24      include -- it would include the current ovarian
 25      cancer claims, it would include the future ovarian

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  1      cancer claims, it would include -- at the time that
  2      this proposal was made, it would have included the
  3      mesothelioma, present and future, it would have
  4      included the attorney generals, you know, actions.
  5                         And so you had the, you know, two,
  6      two states that were litigating, but you also had an
  7      ad hoc group of 42 states.            So all -- you know,
  8      essentially, all the states, you know, had claims.
  9      It would have included all, all of that, any
 10      talc-related liability from J&J.
 11                         And so, you know, most of the -- most
 12      of those buckets are fairly easy to model.               Talc, I
 13      mean, asbestos, mesothelioma, that litigation has
 14      been going on for decades, so there are easy ways to
 15      model how many claims you will have each year.                It's
 16      much more difficult with ovarian cancer.
 17                         That's why, you know, for a Legacy
 18      proposal, they needed -- they needed information
 19      from us.    We didn't need information from them.
 20      They needed information from us.
 21                         THE COURT:       Thank you.
 22                         I wanted -- I apologize.          I didn't
 23      want to get too far afield because I wanted to stay
 24      -- I wanted to make sure my question was addressed
 25      on the current question that you were posing.

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  1                          MR. POLLOCK:       Your Honors, this is
  2      your courtroom, and I respect that, and we're here
  3      to answer your questions.           You're the audience, so
  4      we're here to -- you can jump in any time you want.
  5      BY MR. POLLOCK:
  6                  Q.      Is it fair to say that you were --
  7      you never haggled with Jim Conlan over the values in
  8      your matrix; your values are your values?
  9                  A.      That is -- that is true.         I mean,
 10      this is a -- this is the product of a matrix that --
 11      this wasn't our first.         You know, this wasn't our
 12      first matrix.       This wasn't our opening demand in
 13      this litigation.
 14                          Before we got to this, you know, this
 15      matrix, it had been compromised -- we had
 16      compromised from -- you know, through two rounds of
 17      mediation.       I mean, to some extent, J&J really
 18      didn't engage in the mediation in LTL 2, but we had
 19      engaged in negotiations through LTL 1, and then
 20      even, you know, following the dismissal.
 21                          So, and as I mentioned earlier, we
 22      had -- we had -- we had put together a matrix.                 We,
 23      the ovarian cancer, you know, team, had put together
 24      a matrix very similar to this, and a term sheet in
 25      March of 2023 that we offered to present to J&J in a

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  1      meeting with Mr. Haas and Ms. Forminard, their
  2      general counsel.            And -- but they declined that
  3      meeting.         But that was put together.             This matrix is
  4      -- it's a compromised matrix through years of
  5      negotiation, but this was our matrix.
  6                  Q.        To put a point on it, you weren't
  7      compromising with Jim Conlan?
  8                  A.        No, no, we were not.             We were not
  9      haggling, we were not discussing, we were not
 10      negotiating the matrix.
 11                  Q.        So to quote from the language of RPC
 12      1.6, first line, "A lawyer shall not reveal
 13      information relating to representation of a client
 14      unless the client consents," and it does go on from
 15      there.
 16                            Under oath, to the best of your
 17      knowledge and belief, at any point in time, did
 18      Mr. Conlan ever reveal to you any information that
 19      he had learned while at J&J?
 20                  A.        No.
 21                  Q.        Sitting here today, I recognize it's
 22      impossible to look behind the black screen of what
 23      Mr. Conlan learned during the course of his
 24      representation of J&J at Faegre.                    Is there anything
 25      you can think of that he would have learned, having

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  1      heard his testimony, that was conceivably relevant
  2      to your position of representing clients in Beasley
  3      Allen?
  4                  A.     Not at that point in time.           By the
  5      time I met him, there would have been -- there would
  6      have been nothing that I can think of.
  7                  Q.     Have you seen a single document,
  8      record, anything here that Mr. Conlan shared any J&J
  9      confidences with you?
 10                  A.     No.
 11                         MR. BRODY:       I'm going to object to
 12      that, Your Honor.        Really, he's asking for an
 13      opinion on the evidence.
 14                         THE COURT:       Are you asking for an
 15      opinion or a fact, Mr. Pollock?
 16                         MR. POLLOCK:        I'm asking for the
 17      factual question.        He's being accused of having
 18      received information --
 19                         THE COURT:       To the extent he knows.
 20                         MR. POLLOCK:        And he said he did not.
 21                         THE COURT:       Right.
 22                         Mr. Brody?
 23                         But I think the Court's questions
 24      earlier on the basis of your questions, Mr. Brody,
 25      is, you know, candidly, he -- he may not know.

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  1                          MR. BRODY:      Exactly.    Exactly, Your
  2      Honor.
  3                          THE COURT:      So his testimony is "no."
  4                          MR. POLLOCK:       We can address this
  5      later.       I think his testimony is more that.          I think
  6      it's, "I know I didn't receive anything," and it's
  7      also, "No, I can't think of anything that he could
  8      have shared with me that was relevant."
  9                          Because -- you know, let's -- so
 10      let's -- let me drill down on this a little bit, if
 11      you would.
 12                          THE COURT:      Go ahead.
 13      BY MR. POLLOCK:
 14                  Q.      He's at Faegre until -- I can't
 15      remember, sorry.
 16                          THE COURT:      March 2023.
 17      BY MR. POLLOCK:
 18                  Q.      March '23.      So during -- can you
 19      describe briefly for the Court the changes in the
 20      number of tort claims, asbestos claims that are out
 21      there between June 2020 and February -- I'm sorry,
 22      March 2023.       Can you describe what the evolution or
 23      change is, if there's any?
 24                  A.      Well, yes, there were -- there was a
 25      significant -- I mean, there was a significant

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  1      increase in the total number of claims.              And I am --
  2      I mean, I apologize.        This is -- this is just --
  3      there's so much that's mixed in here, and I just --
  4      I want to be -- I want to be clear.
  5                          From our perspective, you talk about
  6      two different things.         You talk about the total
  7      number of compensable claims versus the total number
  8      of claims.       And so to answer your question, I really
  9      need to know what are you -- what are you asking me.
 10                  Q.      Let me break it out.
 11                  A.      Okay.
 12                  Q.      That's a fair comment.
 13                          So at what -- and you know the dates
 14      better than I do.       LTL was filed, according to me,
 15      on October 2021.       LTL is dismissed on January of
 16      2023.       Does that sound about right?
 17                  A.      Yeah.   The Third Circuit -- the Third
 18      Circuit issued its opinion on January the 30th,
 19      2023.
 20                  Q.      Okay.
 21                  A.      It was the mandate issue that was
 22      technically dismissed by Judge Kaplan on April the
 23      4th of 2023.
 24                  Q.      And so -- and you live in this world;
 25      I visit it.       The number of claims out there, did

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  1      that change significantly as the result of the Third
  2      Circuit's rejection of the LTL plan?
  3                  A.     I wouldn't say that there was -- I
  4      wouldn't say that there was a significant number of
  5      change, changes as a result of the Third Circuit.                  I
  6      mean, there were -- along the scope of this
  7      litigation, you know, there had been some key events
  8      that have, you know, caused spikes in the number of
  9      claims, in the number of claims -- and in the number
 10      of claims, you know, filed.            And, you know, some
 11      were, you know, were verdicts.              You know, some were,
 12      you know, the, you know, the US Supreme Court's
 13      decision in Ingham, you know, the Daubert rulings.
 14                         And, but the biggest, the biggest,
 15      you know, spike in the total number of claims came
 16      as a result of the, you know, the LTL filing.                And
 17      that's -- and that's -- that's a major concern from
 18      our perspective because we have -- we've always
 19      looked at, you know, the -- what are the compensable
 20      claims.
 21                         And so Ms. O'Dell and Ms. Parfitt,
 22      you know, as part of the MDL that communicate with
 23      lawyers, they communicated, and they have over the
 24      course of these years, indicate -- telling them, you
 25      know, this is what, you know, this is what the

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  1      science shows, these are the types of cases that are
  2      supported by the science, just these -- just this
  3      finite group.
  4                           But then, when J&J filed its second
  5      bankruptcy, they brought in all these other claims,
  6      these other gynecological cancers that are not --
  7      not supported to date by the scientific literature.
  8      You know, so cervical cancer cases, uterine cancer
  9      cases, vaginal cancer cases, you know, other types
 10      of cases.        They're serious injuries; they're just
 11      not linked.
 12                           But the -- in the second bankruptcy
 13      and the third that is proposed, that's what --
 14      they're bringing those claims in.               They're bringing
 15      those claims in and would have them vote.               They
 16      wouldn't vote.        And vote on the plan that, if
 17      passed, would then force these unreasonably low
 18      values on the -- on the meritorious claims, the
 19      claims that are supported by the science.
 20                  Q.       Let me switch gears for a second
 21      here.       With regard to expert, Mr. Brody intimated in
 22      the first day before Judge Porto that Mr. Conlan --
 23      he was citing a case from the District Court of New
 24      Jersey that he was an expert.
 25                           Did you ever retain Jim Conlan as an

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  1      expert?
  2                         MR. BRODY:        I'm going to object to
  3      the characterization of my argument from January
  4      17th because it is inaccurate.
  5                         THE COURT:        Well, you will have an
  6      opportunity to address that.              I certainly know our
  7      records reflect what it is.
  8                         But go ahead, Mr. Pollock.
  9                         MR. POLLOCK:         And I'm not going to
 10      quibble.
 11      BY MR. POLLOCK:
 12                  Q.     But did you ever retain him as an
 13      expert?
 14                  A.     No.
 15                  Q.     Did you ever seek advice from him
 16      regarding how to prosecute or pursue your claims
 17      against J&J?
 18                  A.     No.
 19                  Q.     A side-switching lawyer was another
 20      argument that was raised.            Did you ever retain
 21      Mr. Conlan?
 22                  A.     No.    I mean, I -- from the very
 23      beginning of, you know, of any interaction with Jim
 24      Conlan or Legacy, I recognized, I recognized the,
 25      you know, the role that they would play, and they

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  1      would be standing in the shoes of J&J.              They would
  2      be our adversary.
  3                         I mean, any claim, any -- the
  4      proposal that we put forward, the proposal that is
  5      in here, it is a -- it's an opt-in proposal.
  6      Clients would voluntarily choose to accept the
  7      settlement, or not.        And if -- if the -- if the
  8      settlement, if they chose not to, then -- or if the
  9      settlement proposal didn't meet the threshold of 95
 10      percent, Legacy would be litigating on -- they would
 11      have full -- full responsibility, full liability.
 12      We would be litigating against them.
 13                         So I approached this, our team, you
 14      know, approached this with that understanding and
 15      that appreciation.        They would be our -- they would
 16      be the adversary.        They would be on the opposite
 17      side of the V from us, if J&J chose to sell off
 18      its -- all of its talc liability to Legacy or to
 19      whoever.
 20                  Q.     Mr. Brody has argued repeatedly that
 21      there was an alliance between you and Jim Conlan to
 22      work against J&J.        Do you agree that you were ever
 23      in an alliance with Mr. Conlan to work against the
 24      interest of J&J?
 25                  A.     No.

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  1                  Q.     Why not?
  2                  A.     As I just said, I mean, that -- you
  3      know, this was -- this was not -- it was not against
  4      J&J.    It's against -- it's against the proposal that
  5      Mr. Haas has said is his preferred method, in his
  6      preferred bankruptcy, but is not opposed to, you
  7      know, to J&J.      I think this is -- I think that
  8      getting rid of the talc liability would actually be
  9      in the best interest of J&J.
 10                  Q.     Did you ever sit down with Jim Conlan
 11      and say, "Jim, I got an idea.             We can get more money
 12      out of J&J this way."         Was that ever one of the
 13      discussions you had?
 14                  A.     No.
 15                  Q.     And so when I look at Exhibit 4, it
 16      says from Jim Conlan to Duane Van Arsdale, Doug
 17      Dachille, Erik Haas, and Andrew White.              It says:
 18      "Duane, Thank you for your efforts to evaluate our
 19      proposal."
 20                         Whose proposal is it?
 21                  A.     It's Legacy's proposal.
 22                  Q.     And that's a proposal that you had
 23      not seen before it was sent to J&J, correct?
 24                  A.     Correct.
 25                  Q.     And at the end, it says Doug -- "Andy

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  1      Birchfield, Doug Dachille, and I are prepared to
  2      meet with you."
  3                            Did you -- did you ever take from
  4      that sentence that the idea, or did -- was it your
  5      belief that you two were going to link up, that is,
  6      you and Legacy, were going to link up and go attack
  7      J&J and take them for everything they're worth?
  8                  A.        No, not at all.
  9                  Q.        What was your understanding of what
 10      the meeting was about?
 11                  A.        The meeting was to, as I understood
 12      it, at least as, you know, the invitation to me,
 13      would I join, would be for me to talk about the
 14      matrix and how it would provide a measure of
 15      certainty, you know, that the auditors, the external
 16      auditors, Pricewaterhouse, would be able to, you
 17      know, to factor in, because they would have to give
 18      -- they would have to give sign-off on the -- they
 19      would have to sign off on the GAAP procedure, the
 20      ASC 450.         They would have to sign off on that to
 21      remove the noncash charge from J&J to get the talc
 22      liability off of J&J's books.
 23                            And the -- and the uncertainty around
 24      the ovarian cancer case liability would be a factor
 25      that would provide a -- you know, could provide a

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  1      wide range.     And they, as external auditors, to
  2      cover themselves, they'd have to -- they'd have to,
  3      you know, go on the highest end.                 This would provide
  4      some measure of certainty about what the ovarian
  5      cancer liability, you know, could -- could be
  6      resolved for.
  7                         And so, you know, to explain that,
  8      and for, you know, for Legacy people to explain the,
  9      you know, structural optimization and disaffiliation
 10      and how that would benefit J&J.                 That was, you know,
 11      that was my understanding.            My role would have been
 12      to talk about the matrix, to talk about the values
 13      in the matrix, and what that would add up to.
 14                         And, Judge Porto, you asked me about
 15      the value, and before I -- before I got to that, you
 16      asked about is it more than the 19 billion.                 This --
 17      this matrix, the matrix value here, before there
 18      are, you know, before there are any reductions for
 19      risk factors based on, you know, what we know about
 20      the universe, universe of the claims, the value of
 21      this would be approximately, you know, a 300,000
 22      case average for -- for the legitimate, you know,
 23      claims.
 24                         The claims, when I say "legitimate,"
 25      I don't mean to disparage any cancer victim, but

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  1      there are -- there are cases, there are the ovarian
  2      cancer, the epithelial ovarian cancer, the certain
  3      subtypes that are supported by the science.
  4                          If it's limited to that, this, you
  5      know, this grid would be a 300,000 case average.                  We
  6      know that.       We can't look at this grid and determine
  7      that, but we know, because we have worked on this
  8      for a long time, we know what a reasonable
  9      projection of how many claimants would fall into
 10      each of those boxes, so we can -- we can make that
 11      calculation of what this, you know, what this grid
 12      would -- would average.
 13                          And that's -- that's what we have
 14      done.       But it is based on the -- a much smaller
 15      universe of the total number of claims, because J&J
 16      is now saying that the total number of current
 17      claimants is 100,000.         You know, we -- we would say
 18      that the total number of claimants that meet the
 19      true qualifying criteria are significantly less than
 20      that.
 21                  Q.      On topics -- you got questioned today
 22      regarding common benefit.           Page 49, lines 10 through
 23      11, 12, Mr. Haas threw out, "the common benefit fee
 24      was not available in the plan that LTL was
 25      advancing."       Page 49.

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  1                          MR. BRODY:      Page 49 of what?
  2                          MR. POLLOCK:       Page 49 -- I apologize,
  3      Steve.       It's Eric Haas' direct on March 25.
  4                          MR. BRODY:      Okay.
  5                          MR. POLLOCK:       You can -- you can take
  6      my copy.
  7                          MR. BRODY:      That's all right.       I have
  8      one.
  9      BY MR. POLLOCK:
 10                  Q.      "That common benefit fee was not
 11      available on the plan that LTL was advancing in the
 12      LTL bankruptcy."
 13                          Here it is, Steve.
 14                          And you were questioned about it
 15      today.       Do you agree with Mr. Haas that you are not
 16      entitled to -- I'm sorry.           Let me try it this way.
 17                          Was the driving factor for you, at
 18      any point in time, in regarding the LTL bankruptcy
 19      that you would not get common benefit?
 20                  A.      Absolutely not.
 21                  Q.      Why not?     What's Mr. Haas got wrong?
 22                  A.      Well, I mean, first of all, I mean,
 23      there is no principle that you cannot -- you cannot
 24      -- that a bankruptcy court cannot award common
 25      benefit fees.

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  1                          But the thing that is so frustrating
  2      here is that, you know, that we have resisted
  3      overtures, we've resisted overtures to negotiate the
  4      common benefit fee.        We're not going to do that.             We
  5      are firmly committed that we will -- we will look
  6      out for the best interest of our clients.                If we --
  7      if we take care of getting reasonable compensation
  8      for our clients, the common benefit fee will take
  9      care of itself.       We're not going to put that ahead
 10      of the -- of the clients and clients' interest.
 11                          The reason -- the reason that we are
 12      opposing bankruptcy is because of the values that
 13      are being offered in bankruptcy.                If you look at the
 14      proposal, if you look at the proposal that they had
 15      in LTL 2, if you look at the proposal that they
 16      rolled out on Wednesday, the -- they have a payment
 17      schedule, a payment schedule that would be $4.34
 18      billion that would be available during the first
 19      seven years.
 20                          So that would be for your current
 21      claimants.       Current claimants would be paid within
 22      that.       They're saying there's 100,000, 100,000
 23      claimants.       That would be a 43,000 [point 4]
 24      average, case average.
 25                          Now, there would be a range there,

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  1      but you cannot -- you -- at that total number, even
  2      if you were to limit it to the -- to the truly
  3      compensable cases, you cannot get to fair values for
  4      the claimants here.        We know.       We know because we
  5      have been looking at this for a long time.
  6                         What are the elements that would go
  7      into a reasonable compensation for, you know, the
  8      claimants.     One, you have the medical costs.                The
  9      medical costs for especially someone in their 50s or
 10      younger that's diagnosed with a stage 4, those
 11      easily exceed a million dollars just in the -- just
 12      in the medical costs.
 13                         And if you have -- if you look at the
 14      matrix, I mean, there -- there are stage 1 cases,
 15      and go up to 80 years old or so.                The cost for
 16      treating someone, you know, that's 80 and diagnosed
 17      with stage 1, that's in the tens of thousands.                   It's
 18      much lower.
 19                         But we know that the weighted average
 20      across this -- across this entire spectrum would be
 21      about $224,000 average case value.                The numbers that
 22      they are putting forward in this bankruptcy, in
 23      their bankruptcy, you know, proposal would be truly
 24      pennies on the dollar.
 25                         THE COURT:       And that's -- you know,

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  1      there's no objection by Mr. Brody, but, you know, in
  2      terms of where we are, things get a little bit far
  3      afield from your question.            But certainly that's the
  4      testimony, but --
  5                         MR. POLLOCK:        I'll move it along.
  6                         THE COURT:       -- I want to get us back
  7      to what he knew with regard to Mr. Conlan, what
  8      Mr. Conlan may or may not have --
  9                         MR. POLLOCK:        Your Honor, I'm going
 10      to move it along.       There was one direct -- part of
 11      their theory in the case was to argue that Andy is a
 12      bad guy and he's not credible.              And one of the
 13      points Mr. Haas made at direct solicitation of
 14      Mr. Brody's testimony was that the bias here is
 15      because Andy is looking for a pay day, and that the
 16      way the pay day works is that you get -- you don't
 17      get common benefit in bankruptcy.
 18                         So I will move it along.          I do need
 19      to address it one more time because he squarely
 20      addressed it during the course of direct and I need
 21      to respond.
 22                         THE COURT:       Yes, you do.
 23                         MR. POLLOCK:        But I -- but I also
 24      understand loudly and clearly we want to get this
 25      done today.     I think we are going to.           I just need

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  1      -- if you give me a little bit more leeway, I'd
  2      appreciate it.
  3                         THE COURT:        Go right ahead.
  4      BY MR. POLLOCK:
  5                  Q.     So if I -- if you go back to your
  6      binder of exhibits, page 5, exhibit -- I'm sorry.
  7      Exhibit 5, I'm looking at page 29.               It's Plenary
  8      Exhibit 56.
  9                  A.     Yes.
 10                  Q.     Let me know when you're ready.
 11                  A.     What page in the book?
 12                  Q.     It's Plenary Exhibit 56, Exhibit 5.
 13                  A.     Yes, I'm there.
 14                  Q.     Okay.     So before you go and read
 15      that, let me just ask you.             Mr. Haas has argued that
 16      you admitted that you are not entitled to common
 17      benefit before.      Do you agree that you ever admitted
 18      that you were not entitled to common benefit?
 19                  A.     No.
 20                  Q.     Let's --
 21                         MR. BRODY:        I'm just going to object
 22      and ask for a reference.
 23                         THE COURT:        Tell him the page number.
 24      I think it's, what, page -- line 9?
 25                         MR. POLLOCK:         Yeah.    I have lines 9

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  1      through 14.
  2                         THE COURT:        I thought so.     Okay.
  3      BY MR. POLLOCK:
  4                  Q.     So lines 9 through 14.          "We'll come
  5      back --" this is a questioning of you in -- you were
  6      deposed before, correct?
  7                  A.     Yes.
  8                  Q.     And you were deposed on or about
  9      April 17th, 2023?
 10                  A.     Yes.
 11                  Q.     And you were asked the following
 12      question by Mr. Haas:
 13                         "QUESTION:        We'll come back to that
 14      in a moment, but you understand as a general matter
 15      in bankruptcy, you would not be entitled to any
 16      portion of a common benefit fund that you would be
 17      entitled to outside of bankruptcy; correct?"
 18                         Answer, line A, answer, I have, "No,
 19      I do not."
 20                         Is that the answer you gave?
 21                  A.     It is.
 22                  Q.     And do you stand by that answer
 23      today?
 24                  A.     Yes.
 25                  Q.     There was also a question regarding a

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  1      -- bear with me one second.            I'm sorry, Judge.
  2                         I'm going to go to -- you were handed
  3      a transcript of April 17, 2023, last time we were
  4      here, and the -- and in particular, Mr. Haas had
  5      argued during the first day that you had backed out
  6      of the deal.
  7                         Do you recall having that testimony
  8      from Mr. Haas?
  9                  A.     I recall that testimony --
 10                         MR. BRODY:       Objection;
 11      mischaracterizes the testimony.
 12                         THE COURT:       It's not that we're going
 13      to base our evidence -- any evidence decision or
 14      make a fact finding on the question.             So I remember
 15      the question, Judge Singh, I'm sure, remembers that
 16      question, because it drew a reaction, candidly, from
 17      what I recall, you know, from many individuals.
 18                         So why don't you synthesize the
 19      question down.
 20                         MR. POLLOCK:        Sure.
 21                         THE COURT:       I got -- I got your
 22      point, Mr. Brody, but --
 23                         MR. BRODY:       Thank you.
 24                         THE COURT:       Yeah.
 25                         MR. POLLOCK:        I thought this might be

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  1      -- if you want me to go spend the time for 10
  2      minutes, I can find the exact quote.             I think the
  3      sum and substance of what I just said is absolutely
  4      right.
  5                         Mr. Haas accused Andy of having
  6      backed out of the deal in the Imerys bankruptcy, and
  7      said, We had a deal at 3.5 million dollars --
  8      billion dollars, and you backed out.             And I'm
  9      simply, since this is cross -- this is, you know,
 10      this is redirect, I'm allowed some latitude, I
 11      believe.    If you want me to find the exact quote, I
 12      will find the exact quote, but it's going to take me
 13      10 minutes to do it.
 14                         THE COURT:       Can you help, Mr. Brody?
 15                         MR. BRODY:       Well, I think the problem
 16      is trying to build a characterization of Mr. Haas'
 17      testimony into the question.             If he can just ask him
 18      questions about the deal, I think we can get to
 19      where we're going.
 20                         THE COURT:       And that's a fair
 21      characterization.       Do you remember that question
 22      with regard to, purportedly --
 23                         THE WITNESS:        Yes.
 24                         THE COURT:       -- the deal and something
 25      happened to that deal?

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  1                         THE WITNESS:        Yes.      But there are --
  2      but there are two separate deals.
  3                         THE COURT:       All right.
  4                         MR. POLLOCK:        Let me -- let me run
  5      with it, Andy.
  6                         THE COURT:       Go right ahead.
  7                         MR. POLLOCK:        And Judge Porto will
  8      tell me if I screw it up.           Okay?       Is that fair?
  9                         THE COURT:       That's fair, but --
 10                         MR. POLLOCK:        Judges have been doing
 11      that to me --
 12                         THE COURT:       -- I just hear the
 13      question.
 14                         MR. POLLOCK:        Judges have been doing
 15      that to me for years.         I've gotten used to it.
 16      BY MR. POLLOCK:
 17                  Q.     I'm looking at the April 17, 2023
 18      trans -- exhibit that -- transcript that Mr. Brody
 19      was kind enough to provide to us last time.                So I'm
 20      going to go to page 61 of that transcript, line 9.
 21                         (As read):       Do you recall that August
 22      and September of 2020, you had further discussions
 23      with Johnson & Johnson's counsel regarding a
 24      proposal to settle all ovarian cancer claims through
 25      the Imerys bankruptcy?

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  1                            And there's a whole host of
  2      objections.
  3                  A.        Uh-huh.
  4                  Q.        Apparently, they were pretty excited
  5      that day.
  6                            And then it goes on again at page 63,
  7      line 24.         (As read):     On September 25, 2020 -- on
  8      September 5, 2020, you made a proposal to
  9      Mr. Murdica on behalf of J&J in this role -- on
 10      behalf of J&J to settle all the ovarian cancer
 11      claims, both current and future, for $3.25 billion,
 12      right?       And that's page 64.
 13                            Again, a mountain of objections.
 14                            And at page 74, and I'll have a
 15      question soon, (as read):            And you did -- you did
 16      not represent to J&J -- this is line 3 -- in
 17      connection with this settlement offer of 3.25
 18      billion that you had spoken to each and every one of
 19      the clients regarding the proposed offer, correct?
 20                            Your answer, line 8:       I did not.     I
 21      did not make that representation.
 22                            (As read):     And do you not require as
 23      an element of your offer that you and two of the
 24      other participating law firms were required to get
 25      an affidavit or to represent to Johnson & Johnson

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  1      that they had spoken to every one of their clients
  2      regarding their proposed -- proposal, correct?
  3                         There's objections.
  4                         Answer:     We never got -- we never got
  5      to that point.
  6                         What did you mean when you said, "We
  7      never got to that point"?           What's going on?
  8                  A.     I mean, this was -- this was a
  9      proposal, you know, that was made.              It was -- it was
 10      not for 3 point --
 11                  Q.     Whose proposal, Andy?          Help me out.
 12                  A.     I made the proposal.
 13                  Q.     Okay.
 14                  A.     It was a -- it was a term sheet and
 15      -- that was made, you know, to J&J.              I was
 16      questioned about that term sheet in my deposition.
 17      And it was characterized as being a $3.25 billion
 18      proposal for all ovarian cancer claims, present and
 19      future.
 20                         And so -- and through that colloquy
 21      and what Mr. Brody asked me about on April the 10th,
 22      I think, when we were here, was you -- "Did you
 23      submit it?"      I did submit that proposal.             What I was
 24      objecting to is, it is not a $3.25 billion proposal.
 25      That was only a portion of the settlement proposal

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  1      then.       That -- that was it.       So that was --
  2                  Q.      So what's the total value?          What's
  3      the real number and how do I break it up?
  4                  A.      So it --
  5                  Q.      Can you explain it to the Court,
  6      please?
  7                  A.      Okay.   That was a -- that was a
  8      proposal that would have been, testing my memory,
  9      but I believe that the total would have been --
 10      would have been 5.5 to in the 6 range, depending on
 11      how you count the present value, because it was --
 12      it was a -- it would have provided a 10-year payout,
 13      you know, for futures in that regard.              But that was
 14      a proposal in September of 2020, when the total
 15      universe of claims, current claims, was much, much
 16      smaller.
 17                          But that's not -- that's not what
 18      Mr. -- that's not the proposal that Mr. Haas has
 19      accused me of reneging on.            That was a -- and in the
 20      hearing, in the hearing last time on April the 10th,
 21      that was -- there was -- probably what you saw in
 22      the reaction was that there was a shift.               And
 23      Mr. Haas didn't say on April the 10th that I
 24      reneged; he said that he received communication from
 25      the mediators that the committee would accept it.

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  1      And that's a different position than had been taken
  2      previously.
  3                         But that -- but those are two
  4      separate -- two separate proposals.              There was -- I
  5      was asked in my deposition about that proposal in
  6      September of 2020.       It was presented as a 3.25
  7      billion -- in my deposition, it was presented as a
  8      $3.25 billion deal, which it was not.              That's one.
  9                         And then later, you know, there was
 10      a -- you know, there was an Imerys proposal, and
 11      then there was a mediators' proposal.              So we're
 12      talking about different -- different steps along the
 13      way, different agreements.            But it was the -- it was
 14      the mediator's proposal that I was initially accused
 15      of reneging on.      And then -- then it was purported
 16      that the mediators said that the committee would
 17      agree.
 18                  Q.     If we go on to one last question on
 19      page 94, the same transcript of April 17, 2023,
 20      lines 12 to 17, let's call it.
 21                         "MR. HAAS:       So does that clarify,
 22      Mr. Birchfield, that --
 23                         "ANSWER:      This is the proposal.        It
 24      was made in September of 2020.              The world has
 25      changed since September of 2020 in multiple ways

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  1      that would impact the proposal."
  2                          And it goes on from there.
  3                          Can you describe for the Court --
  4      just to put this in context, this transcript is
  5      created April 17th, 2023, and it's in the
  6      bankruptcy, apparently.
  7                          How had the world changed between
  8      September of 2020 and April 17 of 2023?
  9                  A.      Well, in the -- in the scope of the,
 10      you know, talc litigation, so in September of -- in
 11      September of 2020, there had not been a, you know, a
 12      bankruptcy filing.       You know, there had been an
 13      effort to do a bolt-on.
 14                          But the -- you know, but the number
 15      of claims, the number of claims had increased, you
 16      know, dramatically between September 2020 and -- and
 17      then the time that deposition was given in April of
 18      2023.       So the number of claims had shifted, you
 19      know, dramatically.        Plus there was the, you know,
 20      the introduction, you know, by J&J in their
 21      bankruptcy proposal, their LTL proposal on April the
 22      4th of 2023, that these -- all these other cancers
 23      should be included, as well.             So the -- so that
 24      impacted, you know, matters.
 25                          But perhaps the -- one of the

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  1      bigger -- another big, you know, shift is, you know,
  2      we had gone through -- we had gone through the, you
  3      know, the threat of a -- of a J&J bankruptcy.                You
  4      know, you're going to be in bankruptcy; your claims
  5      are going to be on hold for years; and then, you
  6      know -- and, you know, clients are going to die;
  7      you're going to -- the delay is going to cause
  8      significant problems.
  9                         We had -- we had been through that.
 10      We had gone through LTL 1, we had gone through the
 11      motion to dismiss trial, we had gone through the
 12      appeal to the Third Circuit, and the Third Circuit
 13      had dismissed the bankruptcy for lack of financial
 14      distress.
 15                         So there was -- that was a
 16      significant change.        We, at that point, you know,
 17      even though they had filed their second bankruptcy
 18      on the strength of the Third Circuit, there was a
 19      significant change in the risk that we thought we
 20      were facing.
 21                  Q.     So, subject to any questions the
 22      Court may have, I have one last question for you,
 23      Mr. Birchfield.
 24                         You opposed the bankruptcy matter,
 25      the bankruptcy filing that J&J had proposed.                Why

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  1      did you propose -- why did you oppose that on behalf
  2      of the talc claimants committee and Beasley Allen?
  3                  A.         When you say "the bankruptcy filing,"
  4      you're talking about LTL 2 --
  5                  Q.         Yes, sir.
  6                  A.         -- their second, you know --
  7                  Q.         Yes, sir.
  8                  A.         -- their second bankruptcy filing.
  9                             The reason that we opposed, you know,
 10      that bankruptcy is because it would not provide, it
 11      would not provide reasonable compensation, you know,
 12      to the claimants.          And the matrix, you know, the
 13      matrix values that we -- that we put forward, that's
 14      now public, J&J made public with this, with this
 15      filing, those reflect reasonable values for
 16      legitimate claims.          And we are -- we are adamantly
 17      opposed to a bankruptcy or any -- or any supplement
 18      from a solvent defendant that would force a claimant
 19      to accept -- accept value.              Even reasonable, what we
 20      would conclude to be reasonable values.                  They
 21      shouldn't be forced to take that.
 22                             But certainly, you know, certainly,
 23      they should not be forced to take unreasonably low
 24      values.          That's the only reason.          The interest of
 25      the client is the only reason that we have opposed

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  1      these bankruptcies and continue to oppose these
  2      bankruptcies.
  3                         MR. POLLOCK:        Your Honors, do you
  4      have any questions?
  5                         THE COURT:       Judge Singh?
  6                         JUDGE SINGH:        I don't.
  7                         THE COURT:       I don't have any
  8      questions, either.
  9                         MR. POLLOCK:        Thank you, Judges.
 10                         THE COURT:       Why don't we take our
 11      lunch break, 45 minutes.          All right?
 12                         Mr. Brody, how long will it take you?
 13                         MR. BRODY:       20, 20 minutes, maybe.
 14                         THE COURT:       Okay.       All right.    And
 15      we're hearing from Judge Singh's calendar with
 16      regard to supplemental briefing.                When we return,
 17      we'll address the objections on Exhibit 5, and with
 18      regard to the confidential client information.
 19      Okay?
 20                         MR. BRODY:       Yes, Your Honor.         Thank
 21      you.
 22                         THE COURT:       All right.       And we can go
 23      off the record.
 24                         (A recess was taken.)
 25                         THE COURT:       Counsel, thank you.

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  1      Please be seated.         We're going to go back on the
  2      record and reconvene.
  3                         Mr. Brody, what did you say, you have
  4      five questions left?
  5                         MR. BRODY:         Not many more than that,
  6      actually.
  7                         THE COURT:         Okay.       All right.
  8                         MR. BRODY:         So.
  9                         THE COURT:         Probably is a little bit
 10      more, but I was -- I was downplaying the questions a
 11      little.
 12                         MR. BRODY:         No, it's not many -- it's
 13      not many more than that.
 14                         THE COURT:         And Mr. Birchfield,
 15      you're still under oath, sir.
 16                         THE WITNESS:            Yes, sir.
 17                                   -    -    -
 18                          RECROSS EXAMINATION
 19      BY MR. BRODY:
 20                  Q.     Mr. Birchfield, you talked about some
 21      of the trials, the talc trials that the Beasley
 22      Allen firm has had.         Do you recall that testimony?
 23                  A.     Yes.
 24                  Q.     It's -- and you talked about some
 25      verdicts that came in, in 2016.                  I think you

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  1      mentioned three in particular?
  2                  A.     Yes.
  3                  Q.     None of those are still standing
  4      after the appeal, right?
  5                  A.     None of the -- none of the verdicts
  6      are standing, that's true.
  7                  Q.     Right.
  8                  A.     Those cases are -- they vacate -- the
  9      verdicts were vacated, and the trials are pending,
 10      awaiting retrial.
 11                  Q.     And it's basically fair to say that
 12      since 2013, when Beasley Allen started representing
 13      talc plaintiffs, Beasley Allen has tried only 13
 14      cases, not recovered a dime for claimants, and has
 15      not settled any of the cases, right?
 16                  A.     I mean, the point of -- the point
 17      that you're going to make is excepted, it's not
 18      true, I mean, that we haven't collected a dime.                 We
 19      did have a co-counsel agreement in the -- for a
 20      plaintiff in the Ingham case.
 21                         But it is true that we have been in
 22      this litigation and we have -- we have a
 23      longstanding and continued commitment to this
 24      litigation, even though we haven't been -- haven't
 25      been paid a dime.         That's true.

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  1                  Q.     Right.     So it is fair to say that
  2      since 2013, Beasley Allen has tried only 13 cases,
  3      not recovered a dime for claimants, and not settled
  4      any of the cases?
  5                         MR. POLLOCK:        Objection; compound,
  6      asked and answered.
  7                         THE COURT:       Why don't you break that
  8      question up.     And you did ask the question.               What is
  9      different about that question, Mr. Brody?
 10                         MR. BRODY:       Well, there were a bunch
 11      of qualifications that preceded it.               I was just
 12      trying to make sure the record is clean.
 13                         THE COURT:       That's fine.      Why don't
 14      you address each of those points.               All right,
 15      Mr. Birchfield?
 16                         THE WITNESS:        Yes.
 17      BY MR. BRODY:
 18                  Q.     That's fine.
 19                         So, since 2013, Beasley Allen has
 20      tried only 13 cases, right?
 21                  A.     We have had -- we have had 13 cases
 22      go to trial.     I mean, some of those cases are cases
 23      that were our cases, some we were helping other --
 24      other law firms, but -- but yes.
 25                  Q.     Beasley Allen has not recovered a

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  1      dime for the claimants?
  2                  A.     Not true.      Claimant.
  3                  Q.     Fair enough.        And has not settled any
  4      of the cases, right?
  5                  A.     We have not settled any of the cases.
  6                  Q.     All right.       Do you have a copy of
  7      your April 2023 deposition in front of you up there?
  8                  A.     I do not.
  9                  Q.     All right.       I'll give you a copy.
 10                         MR. BRODY:       If I may approach, Your
 11      Honor.
 12                         THE COURT:       You may.
 13                         Do you have a copy of that,
 14      Mr. Pollock?
 15                         MR. POLLOCK:        I do not.
 16                         MR. BRODY:       I'll give you a copy.
 17      It's the one you were reading from earlier.
 18                         MR. POLLOCK:        Okay.    Is it the same
 19      big fat thing?
 20                         MR. BRODY:       Yeah.
 21                         MR. POLLOCK:        Okay.    Then I probably
 22      have it.
 23                         THE COURT:       It's not one of the
 24      exhibits, either?
 25                         MR. POLLOCK:        I'm sure I have it.

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  1      Thank you.
  2                          MR. BRODY:        Yeah.       I think it's in
  3      the exhibits, as well.           It's --
  4                          MR. POLLOCK:         Thank you.      We're good.
  5                          MR. BRODY:        It's within the excerpt
  6      that in the exhibits, as well.
  7      BY MR. BRODY:
  8                  Q.      So if I could turn to page 58, line
  9      20.    Are you there?
 10                  A.      Yes.
 11                  Q.      And you were asked the question:                "So
 12      since 2013, with respect to the 11,300 claims that
 13      Beasley Allen represents, Beasley Allen has tried
 14      only 11 cases --" there have been two in Florida
 15      this year in addition to that, right?
 16                  A.      That's correct.
 17                  Q.      "-- not recovered a dime for
 18      claimants, and not settled any of the cases; is that
 19      fair?"       And your answer was:          "That's basically
 20      fair."       Correct?
 21                  A.      Correct, that's basically --
 22                  Q.      That was -- that's -- all right.                You
 23      can set that aside.
 24                          The -- you were asked questions by
 25      Mr. Pollock about whether a contribution to the MDL

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  1      common benefit fund could be part of a bankruptcy
  2      resolution.      Do you recall those questions?
  3                  A.     Yes.
  4                  Q.     And you understand, however, that a
  5      contribution to the MDL common benefit fund was not
  6      part of J&J's proposed bankruptcy resolution, right?
  7                  A.     I understand that, yes.
  8                  Q.     All right.        You talked about a
  9      settlement matrix that you shared with J&J during
 10      the course of the Imerys bankruptcy.             Do you recall
 11      that testimony?
 12                  A.     Yes.
 13                  Q.     You were not privy to Johnson &
 14      Johnson's internal privileged and confidential
 15      discussions of that settlement matrix, were you?
 16                  A.     No.
 17                  Q.     The last thing I want to ask you
 18      about, you -- the last thing I want to ask you
 19      about, you indicated that as a result of your
 20      leadership position, that you, at times, are
 21      representing not only your own clients' interests,
 22      but the interests of clients of other lawyers,
 23      right?
 24                  A.     No.    We have a -- what I said is that
 25      we view -- we view our role as a leadership role in

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  1      the MDL as having a fiduciary duty to the other
  2      claimants and their counsel.
  3                  Q.     Fair.     And that was going to be my
  4      next question.      You indicated that you have duties
  5      to them, right?
  6                  A.     Right.
  7                  Q.     And one of the things you talked
  8      about with respect to the Legacy proposal that you
  9      testified about was this idea that Legacy, if the
 10      proposal were accepted, would be adverse to you and
 11      your clients, right?
 12                  A.     Yes.
 13                  Q.     That they would then hold the entity
 14      that had talc liabilities --
 15                  A.     Right.
 16                  Q.     -- and, in essence, they would be on
 17      the other side of the V from where you were, right?
 18                  A.     Yes, that's right.
 19                  Q.     Now, if -- if I may, I just -- just
 20      to reorient ourselves from April 10th, if I may
 21      approach with another excerpt from the privilege
 22      log.
 23                         THE COURT:        You may.
 24                         MR. BRODY:        This just makes it easier
 25      from sorting through the whole big thing.

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  1      BY MR. BRODY:
  2                  Q.     We pulled out from that entries that
  3      -- and we talked about some of these on April 10th,
  4      where Ms. O'Dell shared an ovarian cancer leadership
  5      memo with Legacy discussing ovarian cancer case
  6      values, injuries, and damages analysis.
  7                         Do you see that?
  8                  A.     Yes.
  9                  Q.     Your ovarian cancer claim values, as
 10      well as claim estimation report methodology.
 11                         Do you see that?
 12                  A.     Yes.
 13                  Q.     And then we talked about Niall
 14      Davies, who is listed on here, sharing draft QSF
 15      qualifications for the Legacy ovarian cancer
 16      proposal.
 17                         Do you see that?
 18                  A.     I do.
 19                  Q.     And Mr. Davies -- is he still with
 20      the Beasley Allen firm?
 21                  A.     He is.
 22                  Q.     All right.        And he was at the time,
 23      correct?
 24                  A.     Yes.
 25                  Q.     Right.      And so you gave somebody

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  1      you've identified as a potential future adversary
  2      your analysis of case values, injuries, and your
  3      damages analysis, if I'm reading this correctly.
  4      Right?
  5                  A.     Okay.
  6                  Q.     Yes?
  7                  A.     Yes.
  8                  Q.     All right.
  9                         MR. POLLOCK:         Thank you.      That's all
 10      I have.
 11                         THE COURT:        Thank you.
 12                         Mr. Pollock, anything in follow-up?
 13                         MR. POLLOCK:         Sure.
 14                         Using the last document, which we --
 15      I don't think it's marked for identification.                    Do we
 16      want to give it a number, or what do we want to do?
 17                         MR. BRODY:        Sure.       I believe the
 18      privilege log was marked as J&J 1.
 19                         THE COURT:        Right.
 20                         MR. BRODY:        So maybe the excerpt that
 21      I used earlier today could be J&J 1A, and this
 22      excerpt can be J&J 1B, if that's okay.
 23                         THE COURT:        Fair.
 24                         Mr. Pollock, any thoughts?
 25                         MR. POLLOCK:         It works for me.

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  1                         THE COURT:          A and B.
  2                                   -    -     -
  3                         (Exhibit J&J 1A, transcript excerpt,
  4      marked for identification.)
  5                         (Exhibit J&J 1B, transcript excerpt,
  6      marked for identification.)
  7                                   -    -     -
  8                             FURTHER REDIRECT
  9      BY MR. POLLOCK:
 10                  Q.     On whatever you said just -- 1B, the
 11      one you've got in front of you, that one, can we
 12      agree that the -- these documents were subjected to
 13      a mediator -- I'm sorry.              The mediation privilege is
 14      claimed, correct?
 15                  A.     Pardon me -- yes.
 16                  Q.     They were submitted for review by
 17      Judge Schneider, correct?
 18                  A.     Yes.
 19                  Q.     And Judge Schneider reviewed them and
 20      decided they were privileged, too, correct?
 21                  A.     Yes.     I mean, he entered his order,
 22      yes.
 23                  Q.     And his order says they are
 24      privileged, right?
 25                  A.     Yeah.     That's right.

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  1                  Q.      Okay.   Do you believe Judge Schneider
  2      is capable?
  3                  A.      I do.
  4                  Q.      Do you think he understands the
  5      players in the game?
  6                  A.      I do.
  7                  Q.      Fair enough.
  8                          So Mr. Brody got into the question of
  9      how you have tried 13 cases, and some of them are
 10      somebody else's cases, some of them are your cases.
 11      Let's just call it 13, make it simple.                I'm a simple
 12      guy.     So let's call it 13 cases.             And you have not
 13      collected a significant amount on the -- I am having
 14      a hard time reconciling this, because I'm looking at
 15      the numbers that are being offered in settlement,
 16      and they're different with zero value.
 17                          So how do you value the claims?            What
 18      do you think the value of these claims is, in broad
 19      brush?       Why are you pursuing -- let me ask it
 20      differently.       Why are you pursuing it?
 21                          THE COURT:      And you're talking about
 22      current claims, future claims, or claims with merit
 23      as --
 24                          MR. POLLOCK:       Good point.      Let me go
 25      back, since I slaughtered this question, and I'm

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  1      going to try and clean it up.              I'll do it the right
  2      way.
  3      BY MR. POLLOCK:
  4                  Q.     Beasley Allen, you said, is trying to
  5      get reasonable and fair value for its clients.                   You
  6      testified to that before, right?
  7                  A.     Yes.
  8                  Q.     What are the claims that you think
  9      are the ones you are pursuing today?              Can you
 10      describe that category of claims?
 11                  A.     I mean, the claims that we are -- you
 12      know, the claims that we are pursuing are the
 13      ovarian cancer claims.          I mean, that's the
 14      leadership role that Beasley Allen has, pertains to
 15      the ovarian cancer claims.             I do think that Beasley
 16      Allen has one, maybe two meso claims.              But our focus
 17      is and has been since 2014 for the -- for the
 18      ovarian cancer claims.
 19                  Q.     And we've heard about the -- if I get
 20      it off by a little bit, I'm wrong -- 3.2 billion --
 21      3.52 [sic] billion in Imerys.              We've heard about the
 22      7.9 billion that is J&J's preferred plan.               Is that
 23      the -- to address the ovarian cancer claims?                Is
 24      that what -- that's what -- is that what those
 25      numbers are targeted at?

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  1                  A.      Yes.     So there have been -- there
  2      have been multiple, you know, multiple proposals,
  3      term sheets that have been, you know, that have been
  4      proffered through the course of the -- the course of
  5      these last four years, and including the proposal
  6      that we talked about in September of 2020 that was
  7      presented as a 3.25.          But that was just one slice.
  8      It's not a -- it wasn't a 3.25.                   That was one
  9      proposal in 2020.
 10                          The number of claims was much
 11      different.       The number of claims was much different
 12      then.       We have the -- not the 7.9, but the 8.9, you
 13      know, billion dollar proposal that was part of the
 14      LTL 2 bankruptcy that was for both the ovarian
 15      cancer currents and the futures, mesothelioma
 16      currents and futures, and all the attorney generals
 17      actions.
 18                          But the only -- I mean, our position,
 19      whether we have been -- you know, whether it was in
 20      the, you know, the earliest proposal in 2020 or part
 21      of the Imerys -- Imerys deal, or negotiations, the
 22      mediation in the bankruptcy, it has always been to
 23      get reasonable settlement values for our claimants
 24      and for our clients, and that's -- that's it.
 25                  Q.      And do you believe in good faith that

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  1      the claims you have -- are pursuing on behalf of
  2      Beasley Allen and the MDL, the talc claimants
  3      committee, the groups you work with, do you believe
  4      those claims have merit?
  5                  A.     Yes, absolutely.
  6                  Q.     And do you intend to pursue them?
  7                  A.     Yes.
  8                         MR. POLLOCK:         I have no further
  9      questions.
 10                         THE COURT:        Thank you.
 11                         You may step down, Mr. Birchfield.
 12                         Let's quickly address -- yes?
 13                         MR. BRODY:        With the Court's
 14      permission, I would like to ask Mr. Haas to -- the
 15      Court to allow Mr. Haas to take the stand to answer
 16      five or so questions about the document that was
 17      brought and offered as P-3 by Mr. Conlan.
 18                         MR. POLLOCK:         Your Honor, absolutely
 19      not.    We have been patient to a fare-thee-well on
 20      your end and our end.          To suddenly allow Mr. Haas
 21      the megaphone once again, there's nothing in that
 22      document that could not have been addressed before,
 23      and there's no reason we should be addressing it
 24      now.
 25                         Mr. Haas knew about this document, he

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  1      received this document, so there's no reason he
  2      couldn't have addressed it before.              The fact that
  3      they withheld it and now they're saying we now want
  4      to address it, that's ludicrous.
  5                         At some point, there has to be an
  6      end, Your Honors.       I respectfully submit this should
  7      be it.
  8                         THE COURT:       Well, Judge Singh and I
  9      will discuss that separately.             Counsel may be
 10      seated.     The initial question we want to address is
 11      what was contained in the correspondence that we
 12      received this week.
 13                         Regarding Exhibit 5 and objections,
 14      J&J has objections.        To the extent, you know, J&J
 15      has any objections, we would receive that document
 16      with J&J's objections.
 17                         Mr. Pollock, Mr. Brody, any thoughts?
 18                         MR. POLLOCK:        So the only -- there's
 19      one word that is objected to.             The one word is
 20      "recommend," I think it is.            And you had already
 21      ruled, Judge Porto, that "Did Jim Conlan recommend
 22      the Texas Two-Step?"        He says, "I did not."
 23                         And so, to me, it is -- if that's the
 24      only objection they've got, that word "recommend,"
 25      because that would be attorney advice.              But that,

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  1      the attorney advice -- I'll even agree --
  2                         THE COURT:       But that's out.      You
  3      know, that was out as part of our record.
  4                         MR. POLLOCK:        I agree.    That's why
  5      under the -- I'll even, since I'm a generous guy,
  6      I'll agree to a partial waiver, if you want.                As to
  7      that document, the privilege, whatever there is, is
  8      waived.     But that's gone.
  9                         THE COURT:       Mr. Brody?
 10                         MR. BRODY:       Well, I don't --
 11                         THE COURT:       Because that was part of
 12      the testimony.
 13                         MR. BRODY:       It was part of the
 14      testimony, but I don't think there was -- I don't
 15      think the Court's waiver holding as to the question
 16      that was posed to Mr. Conlan about the Texas
 17      Two-Step and his recommendation was so broad as to
 18      encompass the entirety of the November 5th email.
 19                         There can't be a -- there certainly
 20      can't be a waiver of anything in there by
 21      Mr. Pollock because it's J&J's privilege.               And we
 22      had proposed two very minor redactions, as the Court
 23      saw.    I think the Court saw both a redacted and
 24      unredacted version.        We tried to be as narrow as
 25      possible based on objections that we think we should

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  1      still be able to maintain.
  2                         Obviously, the Court has seen that.
  3      The Court understands what its ruling was,
  4      understands the scope of its waiver ruling, and so
  5      we -- you know, obviously, the Court can make a
  6      decision on which version will come into the record.
  7                         THE COURT:       I think we're going to
  8      stand by we'll accept it with the J&J
  9      recommendations.
 10                         JUDGE SINGH:        The redactions.
 11                         THE COURT:       Redactions.
 12                         MR. BRODY:       Thank you.
 13                         THE COURT:       And then --
 14                         JUDGE SINGH:        The objections to the
 15      attorney's eyes only materials.
 16                         THE COURT:       Right.
 17                         What are your thoughts with regard to
 18      those records, then, Mr. Pollock, because they don't
 19      really address -- they're not any issue with regard
 20      to credibility or impeachment as it relates to
 21      Mr. Birchfield.      It goes -- really, it's impeaching
 22      Mr. Conlan.     And Mr. Conlan has counsel, and I
 23      didn't see any objection from -- I mean, I don't
 24      think Judge Singh did -- with regard to any
 25      objection from Mr. Conlan's attorney.

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  1                         MR. POLLOCK:        Mr. Conlan's counsel
  2      doesn't have it.       It wasn't served on him.          So he
  3      didn't -- with all due respect, Judge, that's
  4      unfair.     He is -- they have not been given the
  5      opportunity to be heard.
  6                         But remember, Andy is being tied part
  7      and parcel under -- under the broad application of
  8      RPC 1.6, which addresses an attorney, meaning
  9      Mr. Conlan, disclosing information.
 10                         But to me, the -- it is blatantly
 11      unfair, and certainly it goes to credibility at a
 12      minimum.     It has to go to credibility, these
 13      documents, at a minimum, that J&J had these records.
 14      Mr. Haas' certification is, We've got an incredible
 15      computer system, everything gets shoved in there, we
 16      had this stuff months ago.
 17                         So why did they wait until Jim Conlan
 18      is off the stand, when they have a legion of
 19      lawyers, a billion dollars to blow on defense, and,
 20      yet, they sandbag Jim Conlan with this document
 21      after he's off the stand and back home.              That's
 22      outrageous.     The confrontation clause, he's got an
 23      ethics hearing in Ohio, or in Illinois, wherever he
 24      lives.
 25                         THE COURT:       Iowa.

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  1                          MR. POLLOCK:       Whatever.     All the
  2      same.       It's west of the Mississippi.          But the bottom
  3      line is the -- the fact is that he has no chance to
  4      rebut it himself.
  5                          Second of all, I strongly, incredibly
  6      disagree.       When you look at 99 percent of the
  7      documents, "I don't recall"; "I don't remember"; "I
  8      can't really -- that's not the way I remember it."
  9      There's only a few where they say there's something.
 10                          And then, when we look at the
 11      redactions, the redactions are, "I have incredibly
 12      detailed discussions regarding... blank"; "In fact,
 13      here's a memo from me regarding... blank."
 14                          So how does this Court ever make any
 15      sense out of what was allegedly discussed, because
 16      while it's true, under Yuna, they had the choice of
 17      putting it in, I think that they have to actually
 18      make their case.       And right now, all it says is,
 19      Yes, Jim -- what I conceded with you, Judge Porto,
 20      on the very first day.         Jim Conlan was a lawyer at
 21      Faegre.       He worked on super secret J&J stuff.             I've
 22      never denied it.       He was a lawyer who gave advice.
 23                          But how do I, representing Andy
 24      Birchfield, ever confront the question, "Did Jim
 25      Conlan learn anything during the course of that

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  1      representation that is disclosed"?              That's not been
  2      proven at all.      But even if it was, was it
  3      significantly harmful?         And I have to rely on both
  4      prongs, right?      I'm not giving up the second part of
  5      Yuna.
  6                         So it worries me deeply about
  7      admitting these documents after the fact, at the end
  8      of the hearing, once Mr. Haas and Murdica and Conlan
  9      are gone, and suddenly I get these documents.                I
 10      object to their introduction.
 11                         THE COURT:       Mr. Brody?
 12                         I mean, they go directly to
 13      Mr. Conlan's testimony.
 14                         MR. BRODY:       They go directly to
 15      Mr. Conlan's testimony --
 16                         THE COURT:       Has anyone provided it to
 17      Mr. Conlan's attorney?
 18                         MR. BRODY:       -- and to the credibility
 19      -- well, it's attorneys' eyes, attorneys' eyes only,
 20      and so --
 21                         MR. POLLOCK:        They were not.
 22                         MR. BRODY:       We followed the Court's
 23      instruction.
 24                         Now, as Your Honors know, I sought to
 25      offer them while Mr. Conlan was on the stand, and

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  1      the Court's decision was, No, let's wait.               And, you
  2      know, when you go through the transcript, you will
  3      see the number of places where, in response to his
  4      testimony, you know, I said, Well, here's another
  5      place where I would bring a document out now, if
  6      permitted.
  7                         The Court's preference was announced
  8      after the lunch break on April 10th, was if -- if
  9      there are areas where you believe that he perjured
 10      himself and you have that impeachment, you know,
 11      provide that impeachment.           We have submitted that
 12      impeachment in camera and attorneys' eyes only at
 13      the Court's direction.
 14                         You know, as to the question that
 15      Mr. Pollock asked, Well, how does the Court make
 16      sense of what was submitted, of what the documents
 17      show or don't show, that's really an argument about
 18      the weight that Mr. Pollock believes the Court
 19      should give those documents.
 20                         And, certainly, I expect the parties
 21      will be making arguments about the weight the Courts
 22      should give all the documents that have been
 23      provided and are part of the record, including, you
 24      know, including documents like Plaintiff's P-3 that
 25      Mr. Conlan brought with him to his testimony on

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  1      April 10th.
  2                          And so the answer to that one is
  3      easy.       You know, the answer to the objection is, you
  4      know, we -- we sought to offer these while
  5      Mr. Conlan was on the stand as impeachment.               We
  6      followed Court's direction.            We are submitting --
  7                          THE COURT:      Well, there was also a
  8      concern about the waiver of the privilege, also.
  9      That was, you know, critical with the Court's
 10      thoughts in that regard.          It wasn't that we had
 11      blanketly said don't disclose them; it's just we
 12      were concerned about the privilege.
 13                          MR. BRODY:      Right.      And the Court
 14      addressed that in its invitation that we make
 15      redactions.       And obviously, as Your Honor said, even
 16      with redactions, you -- you submit them, and I may
 17      find that, you know, there has been a waiver or not
 18      a waiver.       You made that point during the hearing on
 19      April 10th.
 20                          And so that's where we stand.           We
 21      followed the Court's direction, and we submitted the
 22      materials.       They are impeachment materials.          And I
 23      am sure that we will have arguments from Mr. Pollock
 24      and Beasley Allen as to the weight that the Court
 25      should give them.

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  1                         THE COURT:       All right.     I think Judge
  2      Singh and I would like to just discuss briefly with
  3      regard to that, with regard to P-3.
  4                         MR. BRODY:       Yes.
  5                         THE COURT:       And then we for your eyes
  6      only privileged materials.
  7                         MR. BRODY:       Sure.
  8                         THE COURT:       We'll take five.        We'll
  9      go off the record.
 10                         (A recess was taken.)
 11                         THE COURT:       Counsel, the Courts are
 12      going to maintain its position with regard to the
 13      attorney eyes only privileged material, argue the
 14      weight, you know, how much, you know, but maintain
 15      the privilege that's been asserted.              Okay?    So you
 16      can reference, but maintain the privilege.                That
 17      goes to the weight with regard to the issue here.
 18                         As it relates to, what, P-5, the
 19      Court does not require or need any additional
 20      testimony.
 21                         MR. BRODY:       Thank you, Your Honor.
 22                         THE COURT:       All right?
 23                         MR. BRODY:       Thank you, Your Honor.
 24                         THE COURT:       You're welcome.
 25                         JUDGE SINGH:        Just one federal court

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  1      footnote as to the attorneys' eyes only submission.
  2      To the extent the parties address something
  3      substantive that has been submitted with that
  4      designation, we anticipate it will be appropriately
  5      filed under seal on the federal court's docket
  6      pursuant to our local civil rule.
  7                         THE COURT:       And the same thing with
  8      the regard to eCourts.
  9                         MR. BRODY:       Thank you, Your Honors.
 10                         And as to the briefing, just to
 11      confirm, two weeks simultaneous submission, and then
 12      replies seven days after that.
 13                         JUDGE SINGH:        Correct.
 14                         THE COURT:       That's correct.
 15                         MR. BRODY:       Thank you.
 16                         THE COURT:       Counsel, thank you.
 17                         MR. POLLOCK:        Thank you, Your Honors.
 18                         THE COURT:       You're welcome.
 19                         (Proceedings concluded at 1:43 p.m.)
 20
 21
 22
 23
 24
 25

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  1                         C E R T I F I C A T I O N
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                  New Jersey Rules Governing Civil Practice

                                 Part IV, Rule 4:14

                      Depositions Upon Oral Examination



           4:14-5. Submission to Witness; Changes; Signing

           If the officer at the taking of the deposition is a

           certified shorthand reporter, the witness shall not

           sign the deposition. If the officer is not a

           certified shorthand reporter, then unless reading

           and signing of the deposition are waived by

           stipulation of the parties, the officer shall

           request the deponent to appear at a stated time for

           the purpose of reading and signing it. At that time

           or at such later time as the officer and witness

           agree upon, the deposition shall be submitted to

           the witness for examination and shall be read to or

           by the witness, and any changes in form or

           substance which the witness desires to make shall

           be entered upon the deposition by the officer with

           a statement of the reasons given by the witness for

           making them. The deposition shall then be signed by

           the witness. If the witness fails to appear at the

           time stated or if the deposition is not signed by

           the witness, the officer shall sign it and state on

           the record the fact of the witness' failure or
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           refusal to sign, together with the reason, if any,

           given therefor; and the deposition may then be used

           as fully as though signed, unless on a motion to

           suppress under R. 4:16-4(d) the court holds that

           the reasons given for the refusal to sign require

           rejection of the deposition in whole or in part.




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           ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

           THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

           2019.    PLEASE REFER TO THE APPLICABLE STATE RULES

           OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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